                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    UNITED STATES OF AMERICA ex rel.
    ELLSWORTH ASSOCIATES, LLP,

                         Plaintiff-Relator,       Case No.: 2:19-cv-02553-JMY

           v.

    CVS HEALTH CORPORATION, et al.,

                         Defendants.



                        RELATOR’S BRIEF IN OPPOSITION TO
                         DEFENDANTS’ MOTION TO DISMISS




W. Scott Simmer (pro hac vice)
William G. Powers (PA Bar No. 316876)
Jennifer Fountain Connolly (pro hac vice)
Catherine Hancock Dorsey (pro hac vice pending)
Noah M. Rich (pro hac vice)
BARON & BUDD, P.C.
The Watergate
600 New Hampshire Ave. NW
10th Floor
Washington, DC 20037
Telephone: (202) 333-4562
Facsimile: (202) 337-1039
                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 3

     A.    The False Claims Act .......................................................................................................... 4

     B.    Medicare Part D .................................................................................................................. 5
           1.     Sponsors Must Certify the Accuracy, Completeness, and Truthfulness of Claims
                  Data Submitted to CMS .............................................................................................. 7
           2.     Part D Sponsors Must Have a Robust Compliance Program...................................... 8
           3.     Part D Plans Must Provide Beneficiaries the Right to Seek Coverage Determinations
                  and File Grievances..................................................................................................... 8
           4.     Sponsors Must Advise Beneficiaries of the Cost Differential for the Lowest-Price
                  Generic Alternative. .................................................................................................... 9
           5.     Sponsors Must Submit Accurate DAW Coding as Part of Each Claim ................... 10
           6.     Sponsors Must Comply with State Mandatory Generic Substitution Laws ............. 12

     C.    Defendants’ Fraudulent Scheme ....................................................................................... 13

LEGAL STANDARD................................................................................................................... 15

ARGUMENT ................................................................................................................................ 16

I.        ELLSWORTH HAS ADEQUATELY ALLEGED VIOLATIONS OF THE FALSE
CLAIMS ACT. ............................................................................................................................. 16

     A.    Defendants Engaged in Anticompetitive Conduct That Defrauded the Government....... 16

     B.    Relator Has Adequately Alleged False Certification Claims. .......................................... 21
           1.     The SAC Adequately Alleges That Defendants Falsely Certified Their Compliance
                  with State Mandatory Generic-Substitution Laws .................................................... 23
                  i.     Defendants’ Falsehoods Were Material ............................................................ 27
                  ii.    Defendants Acted Knowingly ........................................................................... 29
           2.     Defendants Submitted False Claims by Using False DAW Codes........................... 31
           3.     The SAC Plausibly Alleges that Denying Formulary Exceptions Caused False
                  Claims to Be Submitted ............................................................................................ 35


                                                                       i
          4.     The SAC Plausibly Alleges Defendants’ Fraudulent Marketing Caused the
                 Submission of False Claims. ..................................................................................... 41
          5.     The SAC Plausibly Alleges Defendants Falsely Certified Compliance with Federal
                 Laws and Regulations ............................................................................................... 49
          6.     The SAC Plausibly Alleges False Claims for Violations of the Firewall and FTC
                 Consent Order ........................................................................................................... 51

   C.     The SAC Adequately Alleges Conspiracy Claims............................................................ 54

   D.     The SAC Is Not Barred by Public Disclosure .................................................................. 57
          1.     Relator’s Allegations of Fraud Against Defendant Were Not Publicly Disclosed
                 Prior to Relator’s Action. .......................................................................................... 57
          2.     In Any Event, Relator Is an Original Source, Precluding Application of the Public
                 Disclosure Bar........................................................................................................... 60

   E.     CVS Health and CVS Pharmacy Are Proper Defendants. ................................................ 64
          1.     The SAC Plausibly Alleges CVS Health Is a Proper Defendant .............................. 64
          2.     Ellsworth Adequately Alleges CVS Pharmacy Is a Proper Defendant..................... 65

CONCLUSION ............................................................................................................................. 67

CERTIFICATE OF SERVICE ..................................................................................................... 68




                                                                    ii
                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Federal Cases

Anjelino v. N.Y. Times Co.,
   200 F.3d 73 (3d Cir. 1999).................................................................................................15, 18

Anthony v. Council,
   316 F.3d 412 (3d Cir. 2003).....................................................................................................49

In re Asbestos Prods. Liab. Litig. (No. VI),
    822 F.3d 125 (3d Cir. 2016).....................................................................................................15

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................15

Bailey v. Viacom, Inc.,
   No. CIV.A. 4-607, 2009 WL 185957 (W.D. Pa. Jan. 23, 2009)..............................................15

Barry Wright Corp. v. ITT Grinnell Corp.,
   724 F.2d 227 (1st Cir. 1983) ....................................................................................................18

Blanyar v. Genova Prods. Inc.,
   861 F.3d 426 (3d Cir. 2017).....................................................................................................15

In re Burlington Coat Factory Sec. Litig.,
    114 F.3d 1410 (3d Cir. 1997)...................................................................................................11

Christidis v. First Pa. Mortg. Tr.,
   717 F.2d 96 (3d Cir. 1983).......................................................................................................16

Foglia v. Renal Ventures Mgmt., LLC,
   754 F.3d 153 (3d Cir. 2014).............................................................................16, 32, 34, 38, 40

Franchitti v. Cognizant Tech. Sols. Corp.,
   555 F. Supp. 3d 63 (D.N.J. 2021) ............................................................................................60

Halo Elecs., Inc. v. Pulse Elecs., Inc.,
   579 U.S. 93 (2016) .................................................................................................................29

Jackson v. Se. Pa. Transp. Auth.,
   No. CIV.A.08-4572, 2009 WL 637460 (E.D. Pa. Mar. 10, 2009) ...........................................30

Kronfeld v. First Jersey Nat’l Bank,
   638 F.Supp. 1454 (D.N.J. 1986) ..............................................................................................16

                                                                   iii
In re Nat’l Prescription Opiate Litig.,
    No. 18-OP-45032, 2022 WL 671219 (N.D. Ohio Mar. 7, 2022).............................................25

Pryor v. Nat’l Collegiate Athletic Ass’n.,
   288 F.3d 548 (3d Cir. 2002).....................................................................................................30

Purcell v. Gilead Scis., Inc.,
   439 F. Supp. 3d 388 (E.D. Pa. 2020) .......................................................................................43

Rose v. Bartle,
   871 F.2d 331 (3d Cir. 1989).....................................................................................................55

Safeco Ins. Co. of Am. v. Burr,
   551 U.S. 47 (2007) .............................................................................................................29, 30

Sturgeon v. Pharmerica Corp.,
    438 F. Supp. 3d 246 (E.D. Pa. 2020) .....................................................................10, 24, 39, 44

United States ex rel. Bassan v. Omnicare, Inc.,
   No. 1:15-CV- 4179 (CM), 2021 WL 1063784 (S.D.N.Y. Mar. 19, 2021) ..............................65
United States ex rel. Boise v. Cephalon, Inc.,
   Civ. No. 08-287, 2015 WL 1724572 (E.D. Pa. Apr. 15, 2015) ...............................................57

United States ex rel. Boise v. Cephalon, Inc.,
   No. 08-287, 2015 WL 4461793 (E.D. Pa. July 21, 2015) .......................................................54

United States ex rel. Budike v. Peco Energy,
   No. 07-4147, 2013 WL 5890650 (E.D. Pa. Nov. 4, 2013) ......................................................55

United States ex rel. Customs Fraud Investigations, LLC. v. Victaulic Co.,
   839 F.3d 242 (3d Cir. 2016).....................................................................................................53

United States ex rel. D’Cunha v. Luketich,
   No. CV 19-495, 2022 WL 2359417 (W.D. Pa. June 30, 2022) .................................................5

United States. ex rel. Escobar v. Univ. Health Servs., Inc.,
   842 F.3d 103 (1st Cir. 2016) ....................................................................................................28

United States ex rel. Fox Rx, Inc. v. Omnicare, Inc.,
   38 F. Supp. 3d 398 (S.D.N.Y. 2014)..................................................................................33, 60

United States ex rel. Freedom Unlimited, Inc. v. City of Pittsburgh,
   718 Fed. App’x 101 (3d Cir. 2018)....................................................................................60, 63

United States ex rel. Galmines v. Novartis Pharms. Corp.,
   No. CIV.A. 06-3213, 2013 WL 2649704 (E.D. Pa. June 13, 2013) ........................................42



                                                                   iv
United States ex rel. Garbe v. Kmart Corp.,
   824 F.3d 632 (7th Cir. 2016) ...................................................................................................29

United States ex rel. Gohil v. Sanofi-Aventis U.S. Inc.,
   96 F. Supp. 3d 504 (E.D. Pa. 2015) .........................................................................................57

United States ex rel. Hendow v. Univ. of Phoenix,
   461 F.3d 1166 (9th Cir. 2006) .................................................................................................41

United States ex rel. Int’l Bhd. of Elec. Workers Loc. Union No. 98 v. Farfield Co.,
   5 F.4th 315 (3d Cir. 2021) .................................................................................................27, 28

United States ex rel. Judd v. Quest Diagnostics Inc.,
   638 F. App’x 162 (3d Cir. 2015) .............................................................................................62

United States ex rel. Mateski v. Raytheon Co.,
   816 F.3d 565 (9th Cir. 2016) ...................................................................................................60

United States ex rel. Miller v. Weston Educ., Inc.,
   840 F.3d 494 (8th Cir. 2016) ...................................................................................................41

United States ex rel. Moore & Co. v. Majestic Blue Fisheries, LLC,
   812 F.3d 294 (3d Cir. 2016).........................................................................................57, 61, 62

United States ex rel. Piacentile v. Sanofi Synthelabo, Inc.,
   No. 05-2927, 2010 WL 5466043 (D.N.J. Dec. 30, 2010) ........................................................55

United States ex rel. Polansky v. Exec. Health Res., Inc.,
   196 F. Supp. 3d 477 (E.D. Pa. 2016) .................................................................................64, 65

United States ex rel. Prather. v. Brookdale Senior Living Cmtys., Inc.,
   838 F.3d 750 (6th Cir. 2016) ...................................................................................................53

United States ex rel. Prose v. Molina Healthcare of Ill., Inc.,
   17 F.4th 732 (7th Cir. 2021) ....................................................................................................29

United States ex rel. Schmidt v. Zimmer, Inc.,
   386 F.3d 235 (3d Cir. 2004)...................................................................................42, 64, 65, 66

United States ex rel. Silver v. Omnicare, Inc.,
   903 F.3d 78 (3d Cir. 2018).......................................................................................................58

United States ex rel. Sirls v. Kindred Healthcare, Inc.,
   469 F. Supp. 3d 431 (E.D. Pa. 2020) .................................................................................17, 65

United States ex rel. Spay v. CVS Caremark Corp.,
   913 F. Supp. 2d 125 (E.D. Pa. 2012) .......................................................................................50



                                                                  v
United States ex rel. Stepe v. RS Compounding LLC,
   325 F.R.D. 699 (M.D. Fla. 2017).............................................................................................29

United States ex rel. Streck v. Bristol-Myers Squibb Co.,
   370 F. Supp. 3d 491 (E.D. Pa. 2019) .......................................................................................31

United States ex rel. Suarez v. AbbVie, Inc.,
   503 F. Supp. 3d 711 (N.D. Ill. 2020) .......................................................................................49

United States ex rel. Travis v. Gilead Scis., Inc.,
   No. CV 17-1183, 2022 WL 991382 (E.D. Pa. Apr. 1, 2022) ................................10, 24, 44, 56

United States ex rel. Wilkins v. United Health Grp., Inc.,
   659 F.3d 295 (3d Cir. 2011)...............................................................................................21, 50

United States ex rel. Wood v. Allergan, Inc.,
   246 F. Supp. 3d 772 (S.D.N.Y. 2017)......................................................................................49

United States v. Beatrice Foods Co.,
   330 F. Supp. 577 (D. Utah 1971) .............................................................................................17

United States v. Caminos,
   770 F.2d 361 (3d Cir. 1985).....................................................................................................30

United States v. Planned Parenthood Fed’n of Am. Inc.,
   No. 2:21-CV-022-Z, 2022 WL 1290907 (N.D. Tex. Apr. 29, 2022) ......................................65

Universal Health Servs., Inc. v. United States ex rel. Escobar,
   579 U.S. 176 (2016) .....................................................................................................22, 27, 28

Victaulic Co. v. Tieman,
    499 F.3d 227 (3d Cir. 2007).....................................................................................................26

ZF Meritor, LLC v. Eaton Corp.,
   696 F.3d 254 (3d Cir. 2012).....................................................................................................18

State Cases

Correa v. Schoeck,
   98 N.E.3d 191 (Mass. 2018) ....................................................................................................25

Federal Statutes

1 U.S.C. § 1 ....................................................................................................................................61

15 U.S.C. § 1 ..................................................................................................................................16

15 U.S.C. § 15a ..............................................................................................................................16


                                                                        vi
31 U.S.C § 3729(a)(1)(A) ..........................................................................................................4, 55

31 U.S.C. § 3729(a)(1)(C) .........................................................................................................4, 54

31 U.S.C. § 3729(a)(1)(G) .........................................................................................................4, 53

31 U.S.C. § 3729(b) .........................................................................................................................4

31 U.S.C. § 3729(b)(1)(A)(i) .........................................................................................................30

31 U.S.C. § 3729(b)(1)(A)(ii) ........................................................................................................30

31 U.S.C. § 3729(b)(3) ..................................................................................................................54

31 U.S.C. § 3729(b)(4) ..............................................................................................................5, 27

31 U.S.C. § 3729(c) .........................................................................................................................4

31 U.S.C. § 3730(e)(4)(A) .......................................................................................................57, 62

31 U.S.C. § 3730(e)(4)(B) .............................................................................................................61

42 U.S.C. § 1395w-101(a)(2) ........................................................................................................48

42 U.S.C. § 1395w-111(i)(1) .........................................................................................................21

Medicare Prescription Drug, Improvement, and Modernization Act,
  Pub. L. 108-173, 117 Stat. 2066 (Dec. 8, 2003) ........................................................................5

State Statutes

Minn. Stat. § 151.21(5) ..................................................................................................................24

N.J. Stat. § 24:6E-7 ........................................................................................................................25

Nev. Rev. Stat. § 639.2583(7)(c)(1) ..............................................................................................24

Nev. Rev. Stat. § 639.2583(7)(c)(2) ..............................................................................................24

Tenn. Code § 53-10-205(d)(1) .......................................................................................................25

Wis. Stat. § 450.13(1s)...................................................................................................................25

Rules

Fed. R. Civ. P. 9(b) ........................................................................................................................15

Fed. R. Civ. P. 12(b)(6)..................................................................................................................15



                                                                     vii
Regulations

42 C.F.R. § 423.100 .....................................................................................................12, 24, 28, 45

42 C.F.R. § 423.104 .......................................................................................................................28

42 C.F.R. § 423.128(a)(2) ..............................................................................................................44

42 C.F.R. § 423.128(b)(2)(iii)........................................................................................................44

42 C.F.R. § 423.132 .......................................................................................................................45

42 C.F.R. § 423.505(k)(3)..............................................................................................................33

42 C.F.R. § 423.578(a).............................................................................................................24, 45

42 C.F.R. § 423.578(b) ............................................................................................................24, 45

42 C.F.R. § 423.578(b)(5)(i) ......................................................................................................6, 36

Medicare Program; Medicare Prescription Drug Benefit,
  70 Fed. Reg. 4194 (Jan. 28, 2005) ...........................................................................................45

Medicare Program; Changes to the Medicare Advantage and the Medicare Prescription
  Drug Benefit Programs for Contract Year 2013 and Other Changes,
  77 Fed. Reg. 22072 (Apr. 12, 2012) ........................................................................................12

Contract Year 2022 Policy and Technical Changes to the Medicare Program,
   86 Fed. Reg. 5864 (Jan. 19, 2021) ...........................................................................................44

Executive & Congressional Publications

CMS, Instructions: Requirements for Submitting Prescription Drug Event Data (2006) .....10, 11

CMS, Medicare Marketing Guidelines (2018) ..............................................................................44

CMS, Medicare Prescription Drug Benefit Manual: Chapter 6 – Part D Drugs
  and Formulary Requirements (2016).................................................................................24, 45

U.S. Dep’t of Health & Human Servs., Office of Inspector Gen., Some Medicare
   Part D Beneficiaries Face Avoidable Extra Steps That Can Delay or Prevent
   Access to Prescribed Drugs (2019) ...................................................................................38, 39

Drug Pricing in America: A Prescription for Change, Part III: Hearing before the
   S. Comm. on Fin., 116th Cong. 415 (2019) .............................................................................59




                                                                    viii
Websites

CMS, Exceptions, https://www.cms.gov/Medicare/Appeals-and-Grievances/
  MedPrescriptDrugApplGriev/Exceptions ..................................................................................6

CMS, What Medicare Part D drug plans cover, https://www.medicare.gov/drug-
  coverage-part-d/what-medicare-part-d-drug-plans-cover ..........................................................6

FTC, A Brief Overview of the Federal Trade Commission’s Investigative, Law Enforcement,
   and Rulemaking Authority (May 2021), https://www.ftc.gov/about-
   ftc/mission/enforcement-authority ...........................................................................................52

Other Authorities

Joel Hesch, Understanding the Revised Reverse False Claims Provision of the
    False Claims Act and Why No Proof of a False Claim is Required,
    53 UIC J. Marshall L. Rev. 461 (2021) ...................................................................................54




                                                               ix
                                        INTRODUCTION

       This case arises out of a False Claims Act suit to hold Defendants, various CVS Health

entities, responsible for anticompetitive and fraudulent conduct in administering a Medicare Part

D plan sponsored by SilverScript.         Defendants, in exchange for rebate payments from

manufacturers of fifteen brand-name drugs, agreed to give those brand-name drugs an effective

monopoly by precluding the substantially cheaper generic equivalents of those drugs from

competing in the SilverScript Medicare Part D marketplace. Defendants accomplished their plan

by misleading SilverScript’s plan beneficiaries about the availability and cost of generic drugs;

blocking access to certain generic drugs by improperly denying formulary exceptions for those

drugs as a matter of course; and instructing CVS pharmacies not to stock certain generic drugs.

Defendants then attempted to conceal that fraudulent conduct through, inter alia, improper coding

of Medicare Part D claims and inadequate compliance programs. As a result of Defendants’

fraudulent scheme, Medicare Part D beneficiaries on SilverScript’s plan were effectively denied

their rights under Medicare Part D to make informed decisions about their prescription drug

benefits and to request a generic drug rather than a brand-name drug, resulting in greater costs for

both SilverScript beneficiaries and the United States Government.

       In the face of these allegations, Defendants urge dismissal solely on the ground that

“[n]either Congress nor CMS . . . constricts plan sponsors’ discretion to prefer brand drugs on their

formularies.” Br. at 1. But that is not in dispute. Relator does not challenge SilverScript’s

preference for brand-name drugs on its formulary or contend that SilverScript’s exclusion of

generic drugs from its formulary, standing alone, is fraudulent.

       Relator’s action instead is premised on Defendants’ specific fraudulent actions in

implementing SilverScript’s plan, which involved deceiving and misleading plan beneficiaries and
blocking generic prescription drugs from competing against the fifteen identified brand-name

drugs. Defendants do not seriously deny those substantive allegations. Instead, Defendants

suggest (Br. at 3) that those allegations are irrelevant “because the brand drug is precisely what

the government has approved paying for.” But Congress, in permitting plan sponsors to design

their own formulary (including formularies preferring brand-name drugs) did not authorize

Defendants to engage in anticompetitive conduct to thwart market competition, to mislead

beneficiaries about the costs of prescription drugs (including generic equivalents), to violate state

laws requiring substitution of generic drugs, to conspire to ensure that generic drugs were

unavailable at the pharmacy so that beneficiaries could not have obtained a generic drug even if

they otherwise would have been entitled to that drug, or to conceal such actions. Defendants’

conduct thus effectively denied SilverScript beneficiaries the option of seeking a formulary

exception for a cheaper generic drug, which, absent Defendants’ actions, beneficiaries would have

had every incentive to do. Not only that, SilverScript would have been required to grant formulary

exceptions for cheaper generic drugs because, absent such exceptions, beneficiaries would have

suffered adverse effects in having to pay greater out-of-pocket costs for brand-name drugs.

Defendants’ suggestion that the United States Government would have agreed to pay for a more

expensive brand-name drug, regardless of whether a Medicare Part D beneficiary sought and

obtained a generic substitute, simply defies belief.

       Defendants also ask the Court to dismiss this action pursuant to the public disclosure bar.

But Defendants fail to cite any public disclosures that reveal the specific allegations of Defendants’

fraud: Defendants’ misleading statements to beneficiaries about the costs and availability of

generic drugs; blanket refusals for formulary exceptions for certain generics; and instructions to

CVS Pharmacies to not stock certain generics. In any event, even if the allegations of fraud had




                                                  2
been publicly disclosed, Relator, through the personal knowledge and experience of one of its

partners—a former CVS Health executive—has contributed information, distinct from what was

publicly disclosed, that significantly adds to “the who, what, when, where and how” of the alleged

fraud, such that Relator qualifies as an original source.

       Finally, this Court should reject Defendants’ argument that neither CVS Health nor CVS

Pharmacies is a proper party because neither was purportedly directly involved in the submission

of false claims to the Government. Liability under the False Claims Act does not turn on whether

either party directly submitted false claims, but on whether they were actively involved in the

fraudulent scheme. Relator alleges how the Executive Committee, a standing committee of CVS

Health’s Board, controlled the scheme at each step, ensuring an “enterprise-wide benefit,”

knowing that beneficiaries and the Government would be harmed. Likewise, Relator alleges that

the CVS Pharmacies were directly involved in the scheme by refusing to stock certain generics,

by failing to follow state generic substitution laws, and by miscoding prescriptions submitted to

the Government.

       For all of these reasons, the Court should deny Defendants’ motion to dismiss.

                                   STATEMENT OF FACTS

       Plaintiff-Relator, Ellsworth Associates, LLP (“Ellsworth” or “Relator”), is a Delaware

limited liability partnership. One of its partners, Alexandra Miller, was employed by CVS Health

for 19 years, eventually being promoted to a senior executive position. She has extensive personal

knowledge and experience regarding the alleged misconduct, including personal contact with the

CVS Health employees and executives who have committed the alleged violations of law.




                                                  3
Ellsworth alleges that CVS Health and its subsidiaries1 (collectively, “Defendants”) caused the

submission of false claims; made, used, or caused to be made or used, false records or statements

material to false or fraudulent claims; knowingly made, used, or caused to be made or used a false

record or statement to conceal, avoid, or decrease an obligation to pay or transmit money or

property to the Government; and conspired to do the same, all in violation of the False Claims Act

(“FCA”). 31 U.S.C. § 3729(a)(1)(A)-(C), (G).

       A. The False Claims Act

       The FCA prohibits “knowingly” presenting or causing to be presented to the United States

any false or fraudulent claim for payment or approval, 31 U.S.C § 3729(a)(1)(A); “knowingly”

making, using, or causing to be used or made a false record or statement material to a false or

fraudulent claim, id. § 3729(a)(1)(B); “knowingly mak[ing], us[ing], or caus[ing] to be made or

used a false record or statement to conceal, avoid, or decrease an obligation to pay or transmit

money or property to the government,” id. ¶ 3729(a)(1)(G); and conspiring to commit a violation

of the provisions of the FCA, id. § 3729(a)(1)(C).

       “[K]nowing” and “knowingly” mean that a person: (1) has actual knowledge of the

information; (2) acts in deliberate ignorance of the truth or falsity of the information; or (3) acts in

reckless disregard of the truth or falsity of the information. 31 U.S.C. § 3729(b). A “claim”

includes “any request or demand . . . for money or property which is made to a contractor, grantee,

or other recipient if the United States government provides any portion of the money or property

. . . , or if the government will reimburse . . . any portion of the money or property.” 31 U.S.C. §



1
 The CVS Health subsidiaries are SilverScript Insurance Company, CVS Caremark Corporation,
and CVS Pharmacy, Inc. Defendants argue (Br. at 9 n.3) that, rather than CVS Caremark
Corporation, the proper pharmacy benefit management (“PBM”) company should be CVS
Caremark Part D Services, L.L.C. The Parties have met and conferred and have agreed they will
resolve this issue during discovery.


                                                   4
3729(c). Because Medicare claims are paid or reimbursed, at least in part, by the United States

Government, they may give rise to liability under the FCA. See, e.g., United States ex rel.

D’Cunha v. Luketich, No. CV 19-495, 2022 WL 2359417, at *2 (W.D. Pa. June 30, 2022) (“[B]y

submitting claims to Medicare and other Government Health Benefit Programs, Defendants

presented claims for payment to the Government.”). A false statement or record is “material” if it

has “a natural tendency to influence, or be capable of influencing, the payment or receipt of money

or property.” 31 U.S.C. § 3729(b)(4).

        B. Medicare Part D

        Medicare is a federally funded and administered health insurance program for certain

groups, primarily elderly, end stage renal disease (“ESRD”) and disabled persons.              The

Department of Health and Human Services (“HHS”) administers the Medicare program through

the Centers for Medicare & Medicaid Services (“CMS”). Medicare Part D, one of four parts of

Medicare, is a voluntary prescription drug benefit program, established in 2003 by the Medicare

Prescription Drug, Improvement, and Modernization Act, Pub. L. 108-173, 117 Stat. 2066 (Dec.

8, 2003). It became effective January 1, 2006. Second Amended Complaint (hereinafter “SAC”)

¶ 60.

        Medicare Part D is based on a private market model in which CMS contracts with private

entities, known as “Sponsors,” to administer prescription drug plans or “PDPs.” SAC ¶¶ 61-62.

For the Medicare Part D private model to operate successfully, “[t]he United States relies on the

interactions of private entities—drug manufacturers, health plans and pharmaceutical benefit

managers (PBMs)—to achieve value by negotiating prices, operating formularies and

implementing other benefit management strategies.” Id.

        A Sponsor’s Part D plan must cover a wide range of prescription drugs that Medicare

beneficiaries require. A plan’s list of covered drugs is called a formulary. Plans usually include


                                                5
both brand-name and generic drugs. The drugs on a plan’s formulary are generally placed into

different levels, called “tiers,” which determine their costs. If a certain drug is not on a plan’s

formulary, a beneficiary has the right to request a formulary exception to obtain the drug. See

CMS, What Medicare Part D drug plans cover, https://www.medicare.gov/drug-coverage-part-

d/what-medicare-part-d-drug-plans-cover (last visited Sept. 22, 2022).

       A formulary exception request is a type of coverage determination under which a

beneficiary (or the beneficiary’s representative) can request a Part D drug that is not included on

a plan sponsor’s formulary. See generally SAC ¶¶ 120-23.2 The Sponsor is required to grant a

formulary exception and cover the requested drug if the formulary drug either “would not be as

effective” for the beneficiary as the requested drug or “would have adverse effects” for

the beneficiary. 42 C.F.R. § 423.578(b)(5)(i).

       Medicare Part D beneficiaries’ coverage varies over the course of a plan year:

           a) Deductible: Beneficiaries do not receive any benefits under Medicare Part D until

               their out-of-pocket costs meet a modest deductible amount (up to $415 for 2019).3

           b) Initial Coverage Limits (“ICL”): Once a beneficiary meets his or her deductible, he

               or she receives prescription drug benefits up to an annual cap ($3,820 for 2019).

           c) Coverage Gap (the “Donut Hole”): After the beneficiary reaches the annual cap of




2
  See also CMS, Exceptions, https://www.cms.gov/Medicare/Appeals-and-Grievances/
MedPrescriptDrugApplGriev/Exceptions (last visited Sept. 22, 2022).
3
  The Part D Low-Income Subsidy (“LIS”) program provides premium and cost-sharing assistance
for Part D enrollees with low incomes (less than 150% of poverty, or $20,385 for
individuals/$27,465 for married couples in 2022) and modest assets (less than $14,010 for
individuals/$27,950 for couples in 2022. LIS 1, 2, and 3 beneficiaries do not have a deductible,
and LIS 4 beneficiaries have a reduced deductible. See Kaiser Family Foundation, available at
https://www.kff.org/medicare/stateindicator/number-of-low-income-subsidy-lis-
enrollees/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location%22,%22sort%22
:%22asc%22%7D.


                                                 6
               the initial coverage, the beneficiary pays out of pocket until his or her total out-of-

               pocket costs reach a “catastrophic coverage” threshold ($5,100 for 2019).

            d) Catastrophic Coverage: After the beneficiary meets the “catastrophic coverage”

               threshold, the beneficiary again receives prescription drug benefits under a

               reinsurance scheme, in which the United States Treasury pays 80% of costs, the

               Sponsor pays 15%, and the beneficiary pays 5%.

SAC ¶ 74.

       When a pharmacy dispenses a drug to a Medicare Part D beneficiary, it submits an

electronic claim to the beneficiary’s Sponsor to receive reimbursement for the costs not paid by

the beneficiary. The Sponsor (or its PBM) then submits a Prescription Drug Event (“PDE”) record

to CMS that reflects that a drug has been purchased and dispensed. SAC ¶ 69. The PDE is an

electronically created document that includes multiple transactional and calculated fields about the

specific drug dispensed, to include the amount paid by the beneficiary to the pharmacy. Id. CMS

uses the PDE at the end of the payment year to reconcile its advance payments to the Sponsor with

the Sponsor’s actual costs. Id. ¶ 70.

       Medicare Part D imposes a host of regulatory requirements on Sponsors who offer

prescription drug plans, the most significant of which are summarized below.

               1. Sponsors Must Certify the Accuracy, Completeness, and Truthfulness of
                  Claims Data Submitted to CMS

       Sponsors subcontract with multiple entities to provide benefits to Part D beneficiaries,

including pharmacy benefits managers or “PBMs,” which administer the Sponsor’s formulary and

pharmacy benefits and arrange for pharmacies to participate in the plan’s network. SAC ¶ 71. “As

a condition for receiving its monthly payment from CMS, a PDP Sponsor must certify as to the

accuracy, completeness, and truthfulness of all data related to the payment, which may include



                                                 7
enrollment information, claims data, bid submission data, and any other data specified by CMS.”

Id. ¶ 168. The same requirement applies to a Sponsor’s subcontractors, such as a PBM. Id.

               2. Part D Sponsors Must Have a Robust Compliance Program.

       Sponsors must annually agree in writing to comply with CMS regulations. Id. ¶ 78-79,

209. Among other obligations, Sponsors are required to (i) maintain a compliance program to

ensure the integrity of their payment data; (ii) annually attest to the accuracy and truthfulness of

that data; and (iii) “comply with . . . Federal laws and regulations designed to prevent or ameliorate

fraud, waste, and abuse, including, but not limited to, applicable provisions of Federal criminal

law [and] the False Claims Act (31 USC §§ 3729 et seq.).” Id.

       An effective compliance program is a prerequisite for a Sponsor to obtain, and retain,

payments under Part D. Id. ¶ 81-83. A fundamental part of any compliance program is ensuring

that the Sponsor acts ethically and honestly: a Sponsor must “[a]ct fairly and honestly, [a]dhere to

high ethical standards in all [it does], [c]omply with all applicable laws, regulations, and CMS

requirements, [and r]eport suspected violations.” Id. ¶ 86. Non-compliant conduct is conduct that

does “not conform to the law, Federal health care program requirements, or an organization’s

ethical and business policies.” Id. ¶ 87. CMS has identified certain types of conduct that pose a

high risk of noncompliance: appeals and grievance review; ethics; and pharmacy, formulary, and

benefit administration. Id.

               3. Part D Plans Must Provide Beneficiaries the Right to Seek Coverage
                  Determinations and File Grievances

       Medicare Part D provides beneficiaries with certain protections. For example, CMS

guidance states that “[n]o matter how you get your Medicare, you have certain rights and

protections designed to [p]rotect you when you get health care[;] [m]ake sure you get the health

care services that the law says you can get[;] and [p]rotect you against unethical practices.” SAC



                                                  8
¶ 100. These protections include:

          the right to “[g]et clear and simple information about Medicare to help you make health

           care decisions, including [w]hat’s covered[;] [w]hat Medicare pays[;] [h]ow much you

           have to pay[;] [and w]hat to do if you want to file a complaint or an appeal.” Id. ¶ 101.

          the right to “[g]et a coverage decision or coverage information from your plan before

           getting services.” Id. ¶ 103.

          the right to “[r]equest an appeal to resolve differences with your plan. You have the

           right to ask your plan to provide or pay for an item or service you think should be

           covered, provided, or continued. If your plan denies your request, you have the right to

           appeal that decision.” Id. ¶ 102.

These requirements apply to Sponsors like SilverScript that offer prescription drug benefits

directly to beneficiaries. Id. ¶ 104.

       Coverage determinations (including whether a beneficiary may receive a formulary

exception) and grievance procedures serve as a “safety net” to deter improper formulary

administration and ensure a beneficiary’s access to medically necessary or life-sustaining services

or drugs. Id. ¶ 105. Improper processing of grievances and coverage determinations denies

beneficiaries due process and appeal rights and may delay a beneficiary’s access to medically

necessary, often life-sustaining, services or drugs. Id. ¶ 106. CMS may impose sanctions (such

as suspension of enrollment and marketing), civil monetary penalties, or terminate Sponsors who

have improperly denied medically necessary items and services. Id. ¶ 108.

               4. Sponsors Must Advise Beneficiaries of the Cost Differential for the Lowest-
                  Price Generic Alternative.

       Medicare requires Sponsors to have a “cost-effective drug utilization management

program,” which includes using “incentives to reduce costs when medically appropriate, such as



                                                 9
through the use of multiple source drugs.”4 SAC ¶ 140. Thus, Medicare explicitly recognizes

that generic drugs are one way to lower costs. Id.

       Medicare Part D also requires a Sponsor to ensure that its network pharmacies advise

beneficiaries of any price differential between the drug dispensed and the lowest-priced generic

that is both therapeutically equivalent and bioequivalent, and available at the pharmacy. Id. ¶ 141.

This disclosure requirement is not limited to when the beneficiary specifically requests such

pricing information, or to when the prescriber has instructed “Do No Substitute” (i.e., DAW 2).

Id. ¶ 144.

               5. Sponsors Must Submit Accurate DAW Coding as Part of Each Claim

       Sponsors are required to submit data, referred to as PDEs, for each prescription filled under

the plan. SAC ¶ 151. PDE data are used, in part, to validate claims, monitor quality, and make

year-end risk corridor calculations. Id. When pharmacies dispense drugs to Medicare Part D

beneficiaries, pharmacies submit claims electronically to the beneficiaries’ Sponsor (often via a

PBM), which includes the ingredient cost (the cost of the drug itself), any dispensing fee, any sales

or similar taxes paid, any payments made by the beneficiary, and any rebates received from the

drug’s manufacturer or distributor. Id. ¶ 152.

       PDE records contain 37 data elements: 17 defined by CMS and 20 defined by the National

Council for Prescription Drug Programs (“NCPDP”). CMS, Instructions: Requirements for

Submitting Prescription Drug Event Data 9 (2006), available at https://tinyurl.com/dxau5pf6.5


4
  “Multiple-source drugs” are drugs for which there is a brand-name and an approved generic
alternative.
5
  The Court may take judicial notice of this document because it is a “readily available guidance
document[] whose accuracy” cannot be questioned. See United States ex rel. Travis v. Gilead Scis.,
Inc., No. 17-1183, 2022 WL 991382, at *7 (E.D. Pa. Apr. 1, 2022). Moreover, “information found
on government websites is widely considered both self-authenticating and subject to judicial
notice.” Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 246, 259 (E.D. Pa. 2020). In addition, “a
‘document integral to or explicitly relied upon in the complaint’ may be considered” on a motion


                                                 10
The Sponsor is responsible for the submission of accurate PDE data to CMS and the submission

of such data is “a condition of payment.” Id. (“For each dispensing event, the plan must submit a

prescription drug event or PDE record.”); id. at 5 (“As a condition of payment, all Part D plans

must submit data and information necessary for CMS to carry out payment provisions[.]”).

       Field 18, particularly relevant here, “indicate[s] the prescriber’s instruction regarding

substitution of generic equivalents or order to dispense the specific product written.” Id. at 13.

Ten numbers (0-9), called DAW codes (short for “dispense as written”), may be entered into Field

18 to indicate whether a generic drug was substituted for a brand-name and, if not, why not. While

Code 0 is the “default,” the instructions make clear that, for “a multi-source branded product with

available generic(s), DAW 0 is not appropriate, and may result in a reject.” SAC ¶ 161.

       The DAW code chosen by the pharmacy (and which is then certified as accurate by the

Sponsor) is determined by several variables, such as the prescriber’s instructions, the patient’s

request for a brand-name or generic drug, state pharmacy law, and whether there are different

versions of the prescribed drug (e.g., if there is a generic and a brand-name version). If a pharmacy

dispenses a brand-name multi-source drug (a drug for which there is a brand-name and an approved

generic from another labeler), the DAW code must supply the basis for the pharmacy’s decision

not to substitute a generic. CMS recognizes that “excessive use of certain DAW codes may raise

red flags from an audit perspective, especially the use of DAW 1 on multi-source products. Review

acceptable use of DAW 1 and DAW 9 codes with staff and emphasize appropriate documentation

procedures.”6 Id. ¶ 165.




to dismiss. In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997). See
SAC ¶ 151-57 (citing document).
6
  DAW code 1 indicates “substitution not allowed by prescriber,” and DAW code 9 indicates
“substitution allowed by prescriber but plan requests brand.” SAC ¶ 159.


                                                 11
       Sponsors must certify to CMS that the PDE information is accurate, complete, and truthful.

Id. ¶ 168. CMS has specifically identified the “inappropriate use of dispense as written (‘DAW’)

codes” as an example of potential fraud, waste, and abuse that may violate federal law. Id. ¶ 174.

               6. Sponsors Must Comply with State Mandatory Generic Substitution Laws

       “A Part D sponsor may only provide benefits for Part D drugs that require a prescription if

those drugs are dispensed upon a valid prescription.” SAC ¶ 191. To be considered “valid,” a

prescription must “compl[y] with all applicable State law requirements constituting a valid

prescription.” 42 C.F.R. § 423.100. “Since the inception of the Part D Program, [CMS] ha[s]

consistently maintained that drugs cannot be eligible for Part D coverage unless they are dispensed

upon prescriptions that are valid under applicable State law.” Medicare Program; Changes to the

Medicare Advantage and the Medicare Prescription Drug Benefit Programs for Contract Year

2013 and Other Changes, 77 Fed. Reg. 22072, 22139 (Apr. 12, 2012). This means that “[s]tate

law applies in determining what constitutes a valid prescription and that Part D benefits should be

available only for otherwise covered drugs that are dispensed upon a valid prescription.” Id. Those

participating in Medicare Part D “need to consult State law to determine whether a prescription is

valid.” Id.

       Seventeen jurisdictions require that generic drugs must be substituted for brand-name drugs

for all beneficiaries, including Medicare Part D, when the generic drug is cheaper for the

beneficiary.7 See Appendix: Generic Substitution Laws. These requirements apply regardless of

whether the generic drug is on the Sponsor’s formulary. A Sponsor (or its PBM) that submits PDE

records to Medicare when it knows (or should have known) that its network pharmacies are not



7
  The SAC inadvertently identified Maryland as a mandatory-substitution jurisdiction when it is
not. The SAC also inadvertently identified Indiana as a permissive-substitution jurisdiction when,
in fact, it is a mandatory-substitution jurisdiction.

                                                12
complying with the mandatory substitution law in that state has knowingly submitted (or caused

to be submitted) false PDE records or statements. SAC ¶ 197.

       C. Defendants’ Fraudulent Scheme

       Since at least June 22, 2015, CVS Caremark’s rebate agreements with various drug

manufacturers required it to block access to generic versions of fifteen brand-name drugs. These

brand-name drugs are referred to in the SAC as “Single Source Generic/Do Not Substitute”

(“SSG/DNS”) drugs: Copaxone (manufactured by Teva), Exelon (Novartis), Voltaren Gel (Endo),

Invega (Janssen), Asacol HD (Allergan), Xopenex HFA (Sunovion), Renvela Packets (Sanofi),

Renvela Tablets (Sanofi), Istalol (Bausch & Lomb), Harvoni (Gilead), Epclusa (Gilead), Ventolin

HFA (GSK), Canasa Rectal Suppository (Allergan), Advair Diskus (GSK), and Suboxone

Sublingual Film (Indivior). SAC ¶¶ 5, 320. Defendants, in exchange for rebates received for these

brand-name drugs, agreed to assist drug manufacturers in stifling competition from the generic

versions of these drugs, thereby significantly increasing costs for SilverScript beneficiaries and the

Government by effectively eliminating the option of substituting a cheaper generic drug for a

brand-name drug. Id. ¶¶ 3, 4, 6, 252, 289, 299, 348. The inability to obtain cheaper generic drugs

often drove beneficiaries into the Catastrophic Coverage Stage of their Medicare Part D benefits,

where many beneficiaries could not afford the copayments on the brand-name drugs. Id. ¶ 350.

       The SAC details how the rebate deals cut by CVS Caremark rendered Defendants complicit

in the drug manufacturers’ efforts to block competition posed by generic drugs. Id. ¶¶ 289, 319.

As such, Defendants have aided and abetted the drug manufacturers in competing not on the basis

of innovation, but rather based on their ability to limit competition by obstructing access to generic

drugs. Id. ¶¶ 6, 425.

       Ellsworth alleges that the rebate agreements required Defendants’ call center Customer

Care Representatives (“CCRs”) to provide intentionally misleading information to SilverScript


                                                 13
beneficiaries about access to cheaper generic drugs and, more troublingly, provide intentionally

deceptive statements to beneficiaries that the brand-name drugs at issue would be cheaper than the

generics. Id. ¶¶ 378, 382, 386, 407, 413, 435, 438, 442, 469, 473, 475, 478, 482, 503, 506, 510,

513, 516, 520, 625, 628, 631, 647, 650, 653, 686, 690. Those statements sought to discourage

SilverScript beneficiaries from requesting formulary exceptions for generic drugs because

Defendants knew that, if beneficiaries requested such formulary exceptions, Defendants would

have no legitimate basis for denying them. Id. As a further backstop, however, Defendants

ensured that the costlier brand-name drug would ultimately be dispensed, regardless of the

beneficiary’s preference, by requiring CVS Pharmacies not to stock the cheaper generic drugs,

even though such action, in some states, precluded the pharmacies from complying with state

mandatory generic substitution laws. Id. ¶ 12. At its core, Defendants’ scheme involved a

calculated and widespread campaign of misinformation and deception to SilverScript

beneficiaries. Id. ¶ 13. In doing so, CVS Health and its subsidiaries denied Part D beneficiaries

access to cheaper generic drugs by withholding information about generic options, deceiving those

who sought generic pricing information to discourage beneficiaries from requesting formulary

exceptions, and denying formulary exceptions to those who nevertheless sought them. Id. ¶ 14.

       Realizing there was even more profit to be made if beneficiaries’ access to cheaper generic

drugs were eliminated entirely, the SAC specifically alleges that the rebate deal between CVS

Caremark and Gilead for two brand-name drugs, Harvoni and Epclusa, required the blanket denial

of all formulary exceptions for those expensive drugs, thus driving elderly, ESRD, and disabled

beneficiaries into the Donut Hole and Catastrophic Coverage Stages of their Part D benefits, where

they and the Government faced substantial out-of-pocket costs. Id. ¶¶ 14, 278, 541, 557, 575, 598.

In addition, the SAC alleges that, under CVS Caremark’s rebate agreements with Gilead and GSK,




                                               14
CVS Pharmacies were required to stop stocking the generic versions of Gilead’s Harvoni and

Epclusa, and GSK’s Advair Diskus and Ventolin HFA. Id. ¶¶ 15, 278, 317, 350, 498, 528, 622-

23.

                                   LEGAL STANDARD

       When considering a dismissal pursuant to Rule 12(b)(6), the Court “must accept as true all

plausible facts alleged in [the plaintiff’s] complaint and draw all reasonable inferences in her

favor,” In re Asbestos Prods. Liab. Litig. (No. VI), 822 F.3d 125, 131 (3d Cir. 2016), “constru[ing]

the complaint in the light most favorable to [her],” Blanyar v. Genova Prods. Inc., 861 F.3d 426,

431 (3d Cir. 2017) (quoting Fleisher v. Standard Ins. Co., 679 F.3d 116, 120 (3d Cir.

2012)); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“[T]o survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007))). A district

court may not “weigh[] the credibility of the parties’ positions on” “a question of disputed material

fact[]” at the motion to dismiss stage, but rather “should . . . le[ave] such considerations to a

jury.” Anjelino v. N.Y. Times Co., 200 F.3d 73, 97 (3d Cir. 1999).

       Although Rule 9(b) requires a plaintiff to plead fraud “with particularity,” a plaintiff is not

required to “plead the ‘date, place or time’ of the fraud, so long as [plaintiff] use[s] ‘an alternative

means of injecting precision and some measure of substantiation into [her] allegations.’” Bailey

v. Viacom, Inc., No. CIV.A. 4-607, 2009 WL 185957, *1 (W.D. Pa. Jan. 23, 2009) (quoting Seville

Indus. Machinery v. Southmost Machinery, 742 F.2d 786, 791 (3d Cir. 1984)), abrogated in part

on other grounds by Rotella v. Wood, 528 U.S. 549 (2000). “In applying the first sentence of Rule

9(b) courts must be sensitive to the fact that its application, prior to discovery, may permit




                                                  15
sophisticated defrauders to successfully conceal the details of their fraud.” Christidis v. First Pa.

Mortg. Tr., 717 F.2d 96, 99-100 (3d Cir. 1983).

       In the FCA context, a plaintiff must provide only “particular details of a scheme to submit

false claims paired with reliable indicia that lead to a strong inference that claims were actually

submitted.” Foglia v. Renal Ventures Mgmt., LLC, 754 F.3d 153, 156-57 (3d Cir. 2014) (internal

quotation marks omitted). A plaintiff need not show “the exact content of the false claims in

question,” as “requiring this sort of detail at the pleading stage would be one small step shy of

requiring production of actual documentation with the complaint, a level of proof not demanded

to win at trial and significantly more than any federal pleading rule contemplates.” Id. at

156 (internal quotation marks and citation omitted). Less specificity is required where the

defendant is the only party with “access to the documents that could easily prove the claim one

way or another.” See id. at 158. In addition, courts in this Circuit have held that “when the

transactions are numerous and take place over an extended period of time, less specificity in

pleading fraud is required.” E.g., Kronfeld v. First Jersey Nat’l Bank, 638 F. Supp. 1454, 1465

(D.N.J. 1986).

                                      ARGUMENT

I.     ELLSWORTH HAS ADEQUATELY ALLEGED VIOLATIONS OF THE FALSE
       CLAIMS ACT.

       A. Defendants Engaged in Anticompetitive Conduct That Defrauded the
          Government.

       The Clayton Act prohibits “[e]very contract, combination in the form of trust or otherwise,

or conspiracy, in restraint of [interstate] trade or commerce.” 15 U.S.C. § 1. Section 4A of the

Clayton Act allows the Government to recover treble damages for injury “by reason of anything

forbidden in the antitrust laws” when the Government itself is the victim. 15 U.S.C. § 15a.

       Anticompetitive conduct in violation of the antitrust laws may be the predicate for a False


                                                 16
Claims Act action. For example, in 2019 the United States entered into a $1.4 billion settlement

with Reckitt Benckiser Group LLC, the maker of one of the brand-name drugs at issue here,

Suboxone, for alleged anticompetitive conduct that harmed “federal healthcare programs” and

thereby violated the False Claims Act.        See Non-Prosecution Agreement, United States v.

$647,000,000 in U.S. Currency, No. 1:19-cv-27 (W.D. Va. June 11, 2019), ECF 2-1 at 8-9,

available at https://www.justice.gov/opa/press-release/file/1181826/download8; see also United

States v. Beatrice Foods Co., 330 F. Supp. 577, 579 (D. Utah 1971) (permitting FCA suit premised

on antitrust violations to proceed).9

       “Medicare Part D relies on fair competition in private market negotiations between Part D

plans, PBMs, pharmacies and drug makers to ensure that the benefits offered provide quality drugs

at affordable prices.” SAC ¶ 2. “Policymakers envisioned the Part D program would rely on

private plan sponsors that bear insurance risk competing in the marketplace to provide attractive

benefit packages and drug prices that are fairly negotiated in order to make these often lifesaving

medications more affordable.” Id. ¶ 63. As relevant to this case, federal antitrust laws, including

the Clayton Act, prohibit companies from “engag[ing] in deceptive business practices that




8
  “[T]he Court may take judicial notice of . . . court filings that are publicly filed on the docket of
a district court.” United States ex rel. Sirls v. Kindred Healthcare, Inc., 469 F. Supp. 3d 431, 439
n.3 (E.D. Pa. 2020).
9
  See also Press Release, U.S. Dep’t of Justice, DOJ Agrees to Civil Settlement with Additional
Firm Involved in Bid Rigging and Fraud Targeting Defense Department Fuel Supply Contracts
for U.S. Military Bases in South Korea (July 11, 2019), https://www.justice.gov/opa/pr/doj-agrees-
civil-settlement-additional-firm-involved-bid-rigging-and-fraud-targeting-defense (sixth
settlement in series of fuel price-fixing cases); Press Release, U.S. Dep’t of Justice,
Pharmaceutical Companies Pay Over $400 Million to Resolve Alleged False Claims Act Liability
for Price-Fixing of Generic Drugs (Oct. 1, 2021), https://www.justice.gov/opa/pr/pharmaceutical-
companies-pay-over-400-million-resolve-alleged-false-claims-act-liability ($400                 million
settlement involving third, fourth, and fifth price fixing claims).


                                                  17
unreasonably deprive consumers of the benefits of competition” and from “shar[ing] competitively

sensitive information . . . aimed at driving up prices.” Id. ¶ 21.

       Defendants ignore the SAC allegations concerning how their rebate agreements with the

drug manufacturers were anticompetitive and resulted in harm to both SilverScript beneficiaries

and the Government. Instead, much of Defendants’ argument is premised on a fundamental

untruth: “the decision to cover and include a brand drug on a formulary,” to the exclusion of

competitor drugs, “is lawful” under all circumstances. See Br. at 11. That assertion is both legally

and factually wrong. Defendants’ interactions with drug manufacturers are subject to antitrust

laws, which prohibit the anticompetitive conduct in which they have participated.

       The allegations in the SAC, which must be accepted as true for the purposes of Defendants’

motion, see Anjelino, 200 F.3d at 87, detail how Defendants’ conduct was unlawful under the

antitrust laws.10 For each of the drugs at issue, Defendants participated in unlawful anticompetitive

conduct that stifled generic competition and restricted patients’ access to cheaper drugs. See, e.g.,

SAC ¶¶ 6, 291, 370-78 (Copaxone), 399-406 (Invega), 424-35 (Asacol HD), 456-66 (Renvela),

495-503 (Harvoni/Epclusa), 616-27 (Ventolin HFA), 645-49 (Canasa), 679-85 (Advair Diskus).

Pursuant to the rebate agreements between drug manufacturers and CVS Caremark, “SilverScript

was required to block substitution on its formularies of generic drugs in favor of the much more

expensive brand-name” drugs. SAC ¶ 9. These agreements “became key to facilitating the Drug




10
   See, e.g., ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 270 (3d Cir. 2012) (“The primary
antitrust concern with exclusive dealing arrangements is that they may be used by a monopolist to
strengthen its position, which may ultimately harm competition.”); Barry Wright Corp. v. ITT
Grinnell Corp., 724 F.2d 227, 236 (1st Cir. 1983) (“The antitrust problem that courts have found
lurking in requirements contracts grows out of their tendency to ‘foreclose’ other sellers from the
market by ‘tying up’ potential purchases of the buyer. Arguably, under certain circumstances
substantial foreclosure might discourage sellers from entering, or seeking to sell in, a market at all,
thereby reducing the amount of competition that would otherwise be available.”).


                                                  18
Makers’ evergreening, pay-for-delay, product hopping, sham patent litigation, sham Citizen’s

Petitions, authorized generic and other schemes (used in combination or separately) to block

generic competition.” Id. ¶ 6. Thus, Defendants “aided and abetted the drug manufacturers

competing not solely on the basis of innovation, but rather on their ability to obstruct access to

generic competition.” Id. Defendants’ anticompetitive conduct caused, or caused to be submitted,

false claims to the Government, which is actionable under the False Claims Act. Id. ¶¶ 8, 21, 55-

59, 217, 289, 339, 348, 621.

       Ellsworth does not argue, as Defendants contend (Br. at 9), that Medicare Part D sponsors

may never “choose to cover the brand drug but not its generic equivalent.” Indeed, there may be

circumstances in which legitimate market forces would justify such a result and lead to lower

prices for consumers. But the circumstances here are far different. Defendants kept costlier brand-

name drugs on their formularies and excluded cheaper generic drugs not because of legitimate

market forces or a commitment to patient well-being, but because of anticompetitive agreements

with drug manufacturers that benefitted Defendants’ bottom line. See, e.g., SAC ¶¶ 370-98

(Copaxone product hopping and evergreening scheme), 399-421 (Invega authorized generic

agreement), 422-55 (Asacol HD pay-for-delay, rebate wall, and authorized generic schemes), 465-

82 (Renvela pay-for-delay and authorized generic scheme), 493-612 (Harvoni/Epclusa authorized

generic scheme), 613-44 (Ventolin HFA evergreening and authorized generic scheme), 645-78

(Canasa pay-for-delay and authorized generic scheme), 679-711 (Advair Diskus evergreening and

authorized generic scheme); see also id. ¶ 8 (“[W]ith all its wholly-owned subsidiaries conspiring

together, CVS Health has been able to achieve an ‘enterprise-wide benefit’ from the

anticompetitive deals with the Drug Makers that has padded its bottom line, but has harmed

taxpayers as well as elderly, ESRD and disabled Part D beneficiaries.”).




                                                19
       In exchange for rebates paid to Defendants by the drug manufacturers, Defendants agreed

to assist drug manufacturers in blocking patients from securing cheaper generic medications,

thereby depressing competition and keeping drug prices artificially high. See SAC ¶¶ 11, 313,

323, 524, 553, 584, 594, 638, 691 (identified beneficiaries whose access to generic drugs was

blocked); id. ¶¶ 6-7, 137, 289, 368-71, 374, 621 (agreements foreclosed possibility of generic

competition). But for these unlawful agreements, beneficiaries would have had access to generic

equivalents because pharmacists in the seventeen mandatory-substitution jurisdictions would have

been required to comply with the law, and pharmacists in the permissive-substitution jurisdictions

would have been empowered to substitute lower-priced generics.

       Defendants also engaged in deceptive conduct that defrauded beneficiaries and the

Government.     For example, Defendants discouraged beneficiaries from seeking formulary

exceptions for generic drugs by misleading them into believing that generic drugs, because they

were off-formulary, would be more expensive than the on-formulary brand-name drugs. SAC ¶¶

384, 388, 440, 444, 508, 512, 518, 522, 635, 654, 658. Defendants misrepresented that generic

drugs were unavailable due to circumstances outside Defendants’ control, id. ¶¶ 385, 411, 441,

472, 481, 509, 519, 633, 655, 691, which was untrue, id. ¶¶ 386-87, 412-13, 442-43, 472-73, 482-

83, 510-11, 520-521, 634, 656-57, 692-93. As to two brand-name drugs, Harvoni and Epclusa,

Defendants represented that formulary exceptions for those drugs’ generic equivalents were

available, but then issued blanket denials for all such formulary exceptions. Id. ¶¶ 14, 280, 500,

505, 508, 512, 515, 522, 540-554, 559, 577, 600, 605, 608. And as to four brand-name drugs,

Defendants required their CVS Pharmacies not to stock the generic versions of those drugs,

eliminating any possibility that a beneficiary could ultimately obtain a cheaper generic over a

brand-name drug. Id. ¶¶ 14, 278, 541, 557, 575, 598. As a result of this conduct, beneficiaries




                                               20
and the Government paid higher prices for brand-name drugs than they otherwise would have.

See, e.g., id. ¶¶ 14, 64, 227, 243, 302, 366, 375, 566 (Beneficiary No. 8). Thus, Relator has more

than adequately alleged that Defendants’ anticompetitive conduct defrauded the Government

within the meaning of the FCA.

       Significantly, Defendants do not deny that they engaged in any of this anticompetitive

behavior, nor do they even deny that this behavior violates federal antitrust laws. Rather, their

only defense is to assert that “CMS nowhere obligates plans to cover generics nor withholds

approval of formularies that include a brand but not its generic equivalent.” Br. at 7. But this

assertion confuses CMS’s limited role in Part D oversight with Defendants’ overarching

obligations to comply with federal law. Congress’s admonition that CMS may not “interfere with

negotiations between drug manufacturers and pharmacies and PDP sponsors,” 42 U.S.C. § 1395w-

111(i)(1), does not supplant the entire field of antitrust law. Nor are Ellsworth’s FCA claims based

on Defendants’ mere choice to cover brand-name drugs, rather than generics, on its formularies.

Rather, Relator’s claim is based on Defendants’ anticompetitive and deceptive conduct in

administering its Medicare Part D plan that effectively blocked beneficiaries from access to lower-

priced generic drugs, resulting in higher costs for both beneficiaries and the Government. Because

Defendants have not disputed those allegations, Relator’s claim should proceed.

       B. Relator Has Adequately Alleged False Certification Claims.

       In addition to its claim for anticompetitive conduct in violation of the FCA, Relator alleges

a number of false-certification claims under the FCA. “[A] claim is legally false when the claimant

knowingly falsely certifies that it has complied with” a material statute, regulation, or contractual

provision. See United States ex rel. Wilkins v. United Health Grp., Inc., 659 F.3d 295, 305 (3d

Cir. 2011). A false certification may be either express or implied. “Under the ‘express false

certification’ theory, an entity is liable under the FCA for falsely certifying that it is in compliance


                                                  21
with regulations which are prerequisites to government payment in connection with the claim for

payment of federal funds.” Id. (quoting Rodriguez v. Our Lady of Lourdes Med. Ctr., 552 F.3d

297, 303 (3d Cir. 2008)). Implied false certification liability “attaches when a claimant seeks and

makes a claim for payment from the government without disclosing that it violated regulations that

affected its eligibility for payment.” Id.; see also Universal Health Servs., Inc. v. United States ex

rel. Escobar, 579 U.S. 176, 186-87 (2016). Ellsworth makes allegations under both theories of

legal falsity. The alleged false certifications fall into two categories: (1) express false certifications

of accuracy in claims data submitted by the CVS Health entities, and (2) express and implied false

certifications of compliance with federal laws and regulations governing Medicare Part D.

        Specifically, the SAC alleges six ways in which Defendants submitted false claims or

caused false claims to be submitted. Defendants (1) violated state generic-substitution laws, (2)

submitted data to CMS with false DAW codes, (3) systematically and improperly denied formulary

exception requests, (4) fraudulently marketed their Medicare Part D plan, (5) fraudulently certified

that their compliance program satisfied federal law and (6) breached promises made to the FTC.

As explained below, every time Defendants submitted, or caused to be submitted, claims for

payment under Medicare Part D, they expressly or impliedly certified that they had complied with

these requirements, when in fact they had not.

        Defendants challenge the adequacy of these allegations on three grounds: falsity,

materiality, and scienter. Defendants’ arguments are meritless.




                                                   22
                 1. The SAC Adequately Alleges That Defendants Falsely Certified Their
                    Compliance with State Mandatory Generic-Substitution Laws

          Sixteen states, as well as Puerto Rico, require pharmacists to substitute a generic drug for

its brand-name equivalent in most or all circumstances.11 As Defendants acknowledge, the intent

of generic substitution laws12 is to reduce healthcare costs through the use of less-costly generic

drugs.13

          The SAC alleges that, in states with mandatory generic substitution laws, the pharmacy

must dispense a generic drug if the generic drug is cheaper for the patient. SAC ¶¶ 182, 269, 636.

Because Defendants systematically denied access to generic drugs, regardless of price, they failed

to comply with these mandatory generic substitution laws.            Id. ¶¶ 189, 192.     Defendants

nevertheless sought reimbursement from the Government for these invalid prescriptions. Id. ¶¶

24, 324, 396, 571, 668. Thus, Defendants falsely certified that they were filling valid prescriptions

and submitting correct PDE records, both of which are requirements for reimbursement. Id. ¶¶

71-73, 168-69, 174-75, 207, 329, 336. Defendants’ reimbursement requests, therefore, were false

claims.




11
   See Appendix: Generic Substitution Laws. These laws generally include exceptions for when
generic substitution is not warranted, such as when the prescriber orders the medication to be
dispensed as written, when the pharmacist determines that the generic drug is not therapeutically
appropriate for the patient, or when the patient does not give consent to the substitution.
12
   Relator does not concede, as Defendants argue (Br. at 23), that the scheme “cannot possibly”
have caused false claims outside of the mandatory-substitution states. Defendants’ misconduct
interfered with pharmacists not only in mandatory-substitution jurisdictions, but in the permissive-
substitution jurisdictions as well. The state generic-substitution laws are well-recognized pro-
competitive tools to reduce the cost of prescriptions. See SAC ¶ 204. By removing the ability of
pharmacists to substitute lower-priced generic drugs even if they wanted to, Defendants unlawfully
increased the amounts patients and the Government paid, in violation of the FCA.
13
   See SAC Ex. 8 (CVS-001794) (“[T]he intent of these stricter pharmacy substitution laws is that
consumers of prescription drug products may realize cost savings by buying less expensive, safe
drug products.”).

                                                  23
       As a preliminary matter, Defendants make two fundamental errors with respect to the

content of these laws. First, Defendants falsely claim that under the laws of three states, “generic

substitution is not required where the prescribed brand drug is on the plan’s formulary . . . but the

generic equivalent is not.” Br. at 23. However, Minnesota and Nevada, two of the states identified

by Defendants, require only that the generic equivalent be covered by the plan or that the generic

equivalent would carry a lower cost for the consumer.14 Both situations are applicable here: the

generic equivalent can be a covered drug when covered via a formulary exception and the generic

drug can be cheaper for the consumer even when paid for in cash. That is because non-formulary

drugs that are approved under a formulary exception are deemed to be “covered” under Medicare

Part D. See CMS, Medicare Prescription Drug Benefit Manual: Chapter 6 – Part D Drugs and

Formulary Requirements (hereinafter “PDB Manual”) § 10.2 (2016), available at

www.cms.gov/medicare/prescription-drug-coverage/prescriptiondrugcovcontra/downloads/part-

d-benefits-manual-chapter-6.pdf (“A covered Part D drug is a Part D drug that is . . . treated as

being included in a Part D plan’s formulary as a result of a coverage determination or appeal . . .

.”);15 see also 42 C.F.R. §§ 423.100 (definition of “Covered Part D Drug”), 423.566 (coverage

determinations), 423.578(a), (b) (exceptions process).       Defendants also invoke the law of

Tennessee, which does not require mandatory substitution “[i]f a pharmacist has reason to believe




14
   Minnesota and Nevada do not require mandatory substitution if the substitution will make the
transaction ineligible for third-party reimbursement. Minn. Stat. § 151.21(5); Nev. Rev. Stat.
§ 639.2583(7)(c)(2). Nevada further exempts transactions that “[w]ould violate the terms” of the
plan. Nev. Rev. Stat. § 639.2583(7)(c)(1). Neither of these circumstances is implicated by the
facts of this case, in which the patients in the SilverScript plans would have realized substantial
savings if they were lawfully granted formulary exceptions in accordance with the plan terms.
15
   The Court may take judicial notice of this document because it is a “readily available guidance
document[] whose accuracy” cannot be questioned. See Travis, 2022 WL 991382, at *7.
Moreover, “information found on government websites is widely considered both self-
authenticating and subject to judicial notice.” Sturgeon, 438 F. Supp. 3d at 259.


                                                 24
that the brand-name drug or drug product is less expensive to the patient or patient’s drug plan

than the generic equivalent,” Tenn. Code § 53-10-205(d)(1), but the extent to which Defendants’

pharmacists held these beliefs is a fact question inappropriate for resolution at this stage of the

litigation. Second, the measure of “cost” or “savings” under these statutes is far from “ambiguous.”

See Br. at 24. The laws of New Jersey and Wisconsin, for example, explicitly state that these terms

apply to the patient’s financial responsibility16—not the pharmacy’s acquisition cost or the plan’s

cost—and the remainder of the statutes are likewise plainly intended to realize savings for the

patient.17

        Defendants halfheartedly contend that a pharmacist has no role in determining the

particular drug to be dispensed pursuant to a prescription. Br. at 30 n.14. But pharmacies and

pharmacists are not vending machines; they play an integral part in drug distribution and have “a

corresponding responsibility for proper dispensing of” medications. Cf. In re Nat’l Prescription

Opiate Litig., No. 18-OP-45032, 2022 WL 671219, at *2 (N.D. Ohio Mar. 7, 2022); Correa v.



16
   N.J. Stat. § 24:6E-7 (must substitute drug that will result in “a lower cost to the consumer”);
Wis. Stat. § 450.13(1s) (must substitute generic if “lower in price to the consumer” than brand-
name drug).
17
   Defendants’ contention that the “the enrollee would always be paying the full retail price for the
off-formulary generic equivalent instead of incurring out-of-pocket costs that count toward her
coverage” (Br. at 25) is flawed for two reasons. First, whether a patient would realize cost savings
even under Defendants’ contorted reading of the law is a fact question that cannot be resolved at
this stage. Second, Defendants’ argument misconstrues the allegations in the SAC. Because
Defendants would have been obligated to grant any formulary exception requests and cover sixty
percent of the cost of these generic drugs but for Defendants’ unlawful anticompetitive behavior,
there is no need to consider whether Defendants’ enrollees would accumulate spending under their
Medicare benefits.
         Likewise, Defendants’ assertion that pharmacists would need “to engage in a
comprehensive pharmacoeconomic analysis” (Br. at 37) is similarly flawed, as Defendants again
appeal to a factual dispute that cannot be resolved on a motion to dismiss. In addition, not only
would it have been simple for CVS’s pharmacists to compare a patient’s costs for an expensive
brand-name drug to a generic equivalent under Tier 4 coverage, but Defendants’ vertical
integration—controlling and colluding between the PBM, healthcare plan, and pharmacy—would
make any such calculation a simple matter.

                                                 25
Schoeck, 98 N.E.3d 191, 199 (Mass. 2018) (“[P]harmacies have a duty to fill

prescriptions correctly.”). Notwithstanding Defendants’ attempt to balkanize the prescription

process, separating prescribers and pharmacists into entirely distinct roles, both “[p]rescribers and

pharmacies remain subject to applicable State laws regarding valid prescriptions” for the purposes

of Medicare. 77 Fed. Reg. at 22152 (emphasis added).

        Defendants largely resort (Br. at 26-29) to challenging the SAC’s factual assertions

concerning the difference in price between the more expensive brand-name drugs that were

prescribed and the less expensive generic drugs that ought to have been dispensed. However, this

argument is inappropriate. To begin, it contradicts the allegations in the SAC. While Defendants

claim that cost comparisons are nearly impossible and their denial of access to generic drugs may

have resulted in cost savings,18 the SAC provides numerous specific examples of actual

SilverScript patient claims demonstrating that the generic would have been much cheaper than the

brand-name drug. See SAC ¶¶ 394-396, 491, 561-563. Defendants’ cherry-picked examples of

drug pricing at a single pharmacy and at a single point in time (Br. at 28) are hardly relevant to the

wide range of false claims asserted in the SAC, and also ignore that these drugs ought to have been

covered on Tier 4 via a formulary exception. See Victaulic Co. v. Tieman, 499 F.3d 227, 237 (3d

Cir. 2007) (“Taking a bare ‘fact’ that is reflected not in the pleadings, but on a corporate website,

and then drawing inferences against the non-moving party so as to dismiss its well-pleaded claims

. . . , takes us, as a matter of process, far too far afield from the adversarial context of litigation.”).

Moreover, the precise extent to which Defendants’ unlawful scheme resulted in monetary harm to

the Government and SilverScript beneficiaries is a fact question inappropriate for resolution at the




18
  The fact that Defendants went to great lengths to cover up their conduct belies their assertion
that they believed their conduct resulted in cost savings.


                                                    26
pleading stage.    Drug pricing is complicated and fact-dependent.           Defendants’ sweeping

generalities based on unrepresentative examples do not disprove Relator’s theory and should be

rejected, particularly before any discovery has taken place.

                   i. Defendants’ Falsehoods Were Material

       Defendants claim that their misconduct was immaterial because “the relator has not alleged

any facts showing that ‘the Government consistently refuses to pay claims in the mine run of cases

based on noncompliance’ with state generic-substitution laws.” Br. at 38 (quoting Escobar, 579

U.S. at 195). Defendants badly misread the applicable case law. The definition of “material”—

which Defendants entirely omit from their brief—is “having a natural tendency to influence, or be

capable of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

This standard does not require proof of but-for causation—i.e., but for defendant’s fraud, the

Government would not have paid the claim. Relator need not establish that the Government’s

payment decision would have been different, only that Defendants’ misconduct was “capable of

influencing” that decision.

       Defendants selectively quote from and distort the Supreme Court’s holding in Escobar,

which held that “proof of materiality can include, but is not necessarily limited to, evidence that

the defendant knows that the Government consistently refuses to pay claims in the mine run of

cases based on noncompliance with the particular statutory, regulatory, or contractual

requirement.” Escobar, 579 U.S. at 194 (emphasis added). The Supreme Court also opined that

“the Government’s decision to expressly identify a provision as a condition of payment,” as well

as whether the Government “pays a particular claim” or type of claim “despite its actual knowledge

that certain requirements were violated,” are relevant to the materiality inquiry. Id. at 194-95. In

addition, it is relevant “whether the noncompliance is ‘minor or insubstantial’ or, instead, goes ‘to

the very essence of the bargain.’” United States ex rel. Int’l Bhd. of Elec. Workers Loc. Union No.


                                                 27
98 v. Farfield Co., 5 F.4th 315, 346 (3d Cir. 2021) (quoting Escobar, 579 U.S. at 194, 196 & n.5).

However, these factors were never intended to be a comprehensive checklist of the only issues

relevant to materiality; rather, they function as guideposts for the lower courts to use in assessing

whether any particular misconduct is material. In sum, Escobar “makes clear that courts are to

conduct a holistic approach to determining materiality in connection with a payment decision, with

no one factor being necessarily dispositive.” See, e.g., United States. ex rel. Escobar v. Univ.

Health Servs., Inc., 842 F.3d 103, 109 (1st Cir. 2016) (on remand); accord Farfield, 5 F.4th at 342

(“A materiality inquiry under the FCA is a holistic, totality-of-the-circumstances examination . . .

.”). Defendants’ argument collapses all of the Escobar materiality factors into one, ignoring that

(1) Escobar listed several factors relevant to materiality, (2) no single factor is determinative, and

(3) the factors enumerated by the Supreme Court are not exhaustive. Based on the totality of the

circumstances, Defendants’ misconduct was material.

       Defendants assert (Br. at 30) that “the relator has not identified any indication from CMS

that non-compliance with a state generic-substitution law renders a claim for an undisputedly

covered brand drug non-reimbursable.” This is false. The SAC alleges that a Part D sponsor may

pay—and CMS will reimburse—only for drugs dispensed upon a “valid prescription.” 42 C.F.R.

§ 423.104. A “valid prescription” is defined according to state law. Id. § 423.100. The SAC

further alleges that in the mandatory substitution states, state law requires generic substitution for

the prescription to be valid. SAC ¶¶ 22, 182, 206, 208, 212, 269, 322-24, 328-30, 333-35.

       Furthermore, Defendants’ misconduct went to the heart of the bargain between Defendants

and the Government because it affected the amount of money the Government reimbursed

Defendants for prescriptions. By engaging in unlawful anticompetitive conduct and restricting

patients’ access to cheaper generic medications, Defendants caused the Government to reimburse




                                                 28
for more expensive brand-name medications and pay more than it should have. Extensive

precedent supports the proposition that a false claim is material when it affects the price the

Government pays for a product or the amount of money the defendant receives. See United States

ex rel. Prose v. Molina Healthcare of Ill., Inc., 17 F.4th 732, 743 (7th Cir. 2021) (“The size of the

price differential alone offers strong support for a finding of materiality: it is hard to see why the

government would be indifferent about paying $3,180 for services that should have been at the

$54 level.”); United States ex rel. Stepe v. RS Compounding LLC, 325 F.R.D. 699, 706-07 (M.D.

Fla. 2017) (allegations of inflated prices charged to TRICARE sufficient to demonstrate

materiality). Cf. United States ex rel. Garbe v. Kmart Corp., 824 F.3d 632, 639 (7th Cir. 2016)

(“[T]o the extent Kmart made false claims, they were material: those claims were the basis of the

federal monies Kmart received.”).

                   ii. Defendants Acted Knowingly

       Defendants contend that their misconduct was motivated by “reasonable interpretations of

the federal rules and state laws,” such that they could not have acted knowingly. Br. at 32. This

argument is unavailing for three reasons. First, Defendants’ reliance on the scienter analysis set

forth in Safeco is misplaced. Defendants have failed to cite any binding precedent in this circuit

applying that standard to the FCA, and a fair reading of Safeco demonstrates that it does not apply

here. The construction of a term of scienter “is often dependent on the context in which it appears.”

Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 57 (2007). In Safeco, the Supreme Court applied the

common-law definition of “reckless disregard” to the Fair Credit Reporting Act (“FCRA”) because

there was “no indication that Congress had something different in mind.” Id. at 69. However, the

Supreme Court has cabined this ruling to the particular context of the FCRA and has declined to

extend it to situations where a party’s subjective bad faith is relevant. See, e.g., Halo Elecs., Inc.

v. Pulse Elecs., Inc., 579 U.S. 93, 106 & note (2016) (distinguishing Safeco in a Patent Act case).


                                                 29
The FCA, with its carefully enumerated scienter standard that refers to a defendant’s subjective

state of mind, is such a situation. See 31 U.S.C. § 3729(b)(1)(A)(i)-(ii) (“knowing” includes

“actual knowledge” and “deliberate indifference”); Br. for Amicus Curiae Sen. Charles E. Grassley

in Support of Pet’rs at 4-8, United States ex rel. Tracy Schutte v. SuperValu, Inc., No. 21-1326

(U.S. May 19, 2022) (collecting cases), available at https://www.supremecourt.gov/DocketPDF/

21/21-1326/225832/20220519154806836_21-1326%20Amicus%20Brief.pdf.                       Unsurprisingly,

then, the Third Circuit has held that “reckless disregard” requires an inquiry into a party’s

“subjective awareness,” foreclosing the application of Safeco. See United States v. Caminos, 770

F.2d 361, 366 (3d Cir. 1985).

         Second, even if the Safeco standard applied to this case, Defendants have failed to identify

any ambiguity in the laws and regulations at issue such that their interpretation of the laws at issue

could be objectively reasonable. A claim is not payable unless it is made for a “valid prescription,”

which is defined according to state law, and the mandatory-substitution jurisdictions require that

a prescription for a brand-name drug be substituted with a generic drug. See supra pp. 12, 22-30.

This conclusion is further bolstered by CMS’s DAW Codes, which do not permit a pharmacist to

report that he or she has filled a prescription with a brand-name drug in a mandatory jurisdiction

state.

         Third, “a matter involving state of mind . . . is unsuitable for resolution at the motion to

dismiss stage.” Jackson v. Se. Pa. Transp. Auth., No. CIV.A.08-4572, 2009 WL 637460, at *7

(E.D. Pa. Mar. 10, 2009); see Pryor v. Nat’l Collegiate Athletic Ass’n., 288 F.3d 548, 565 (3d Cir.

2002) (“[I]ssues involving state of mind . . . are often unsuitable for a Rule 12(b)(6) motion to

dismiss.”).    Determining the extent to which Defendants were warned away from their

interpretation requires a fact-intensive inquiry that is not susceptible to resolution at this stage. See




                                                   30
United States ex rel. Streck v. Bristol-Myers Squibb Co., 370 F. Supp. 3d 491, 497 (E.D. Pa. 2019)

(“Whether the proposed rule warned BMS away presents a question of fact.”).

               2. Defendants Submitted False Claims by Using False DAW Codes

       “CMS requires Plan Sponsors to submit data, referred to as PDEs, for each prescription for

which the Plan Sponsor has paid. PDE data are used, in part, to validate claims, monitor quality,

and make year-end risk corridor calculations.” SAC ¶ 151 (footnote omitted). PDE data include

various fields, including Field 18: “DAW/Product Selection Code.” Id. ¶¶ 152-56. This code

indicates whether a generic or brand-name drug was dispensed and why. Id. ¶¶ 156-59.

       As explained above, supra p. 11, “if a pharmacy dispenses a brand-name when a generic

was available, the DAW code needs to reflect an accepted reason why.” SAC ¶ 186. DAW codes

from 0 to 9 provide these reasons. By formulating the PDE system in this manner, CMS has

indicated that these are the only situations in which a pharmacy may dispense a brand-name drug

instead of an available generic in a mandatory-substitution state.

       DAW code 0 can be used in only two situations: (A) where a brand-name drug was

dispensed because there are no generic equivalents, or (B) where a generic drug was dispensed

instead of a brand-name drug. CVS Caremark’s own Administrative Manual agrees, admonishing

pharmacies to use DAW code 0 only when dispensing a brand-name drug “because generic

substitution is impossible.” SAC ¶ 163. CVS’s Provider Manual echoes this guidance: “DAW 0

cannot be submitted on a multisource drug with available generics.” Id. ¶ 183.

       Defendants’ fraudulent scheme involved the systematic misreporting of claims data using

knowingly inaccurate DAW codes, which were used to support Defendants’ claims for

reimbursement from the Government under Medicare Part D. These inaccurate DAW codes

misrepresented the nature of the drugs Defendants dispensed and the reasons for doing so. The

SAC includes numerous examples of Defendants dispensing brand-name multiple-source drugs


                                                31
and reporting DAW code 0 in mandatory substitution states. SAC ¶¶ 335, 569, 669. DAW code

0 indicates that no generic exists or that the prescriber issued the generic drug, but neither was true

here. The SAC also includes an example of Defendants reporting DAW code 9 in a mandatory

substitution state.19 SAC ¶ 337. But DAW code 9 applies only where substitution is permitted

and the plan requests the brand. It does not apply where substitution is required. In addition, the

SAC includes examples of DAW codes being used improperly even in permissive-substitution

states—such as reporting DAW code 0 (no generic exists), 1 (physician requested brand), or 2

(patient requested brand) when, in reality, the plan refused to dispense the generic drug and should

have reported DAW code 9. E.g., id. ¶¶ 391, 488, 552, 591, 636, 669 (0 instead of 9), 397, 489 (1

instead of 9), 638 (2 instead of 9). All of these false statements provided misinformation about

what drugs were being dispensed and why.

       Defendants contend (Br. at 44) that this systematic fraud could not have been material

“because the only drug that would be reimbursed by the plan is the brand, across the board.” This

contention is factually false. As alleged throughout the SAC, Defendants were required to cover

non-formulary drugs through Tier 4 cost-sharing. SAC ¶¶ 280, 378, 386, 406, 435, 438, 442, 466,

503, 506, 510, 516, 520, 631, 647, 650, 654. Moreover, it misses the point. Whether the plan

would have reimbursed for a prescription is a distinct question from whether the Government

would reimburse for a prescription. CMS needs to know not only what it is reimbursing, but why



19
   The SAC further alleges that Defendants improperly used DAW code 5 (brand-name drug
dispensed as generic) even though Defendants failed to give their enrollees and CMS the benefit
of generic pricing. Id. ¶ 336. Although the SAC does not include any examples of this particular
type of miscoding, it nonetheless provides numerous particularized examples of how Defendants’
miscoding scheme worked generally. See Foglia, 754 F.3d at 156 (complaint must provide only
“particular details of a scheme to submit false claims paired with reliable indicia that lead to a
strong inference that claims were actually submitted,” not “the exact content of the false claims in
question”). Accordingly, the Court should reject Defendants’ request (Br. at 37) to dismiss the
SAC on this ground.


                                                  32
it is making that payment. Inaccurate DAW codes prevent CMS from determining plan sponsors’

compliance with the Medicare Part D rules.

       Unsurprisingly, Defendants say little about U.S. ex rel. Fox Rx, Inc. v. Omnicare, Inc., 38

F. Supp. 3d 398 (S.D.N.Y. 2014), where the court held that incorrect DAW codes in PDE records

could be the basis for FCA violations. The relator in Fox alleged that the defendant pharmacies

failed to substitute generic drugs for brand-name drugs in states mandating such substitution by

law. Id. at 401. According to the court, if the pharmacies had submitted PDE records, they would

have violated a condition of payment under Medicare. Id. at 411 (holding that 42 C.F.R. §

423.505(k)(3) “does relate directly to the payment of Part D claim . . . [and] requires a certification

that the submitted [PDE] data is accurate, complete and truthful”). The Fox relator’s allegations

echo those of Relator, who has specifically alleged the violation of § 423.505(k)(3) due to false

DAW codes. See SAC ¶¶ 171, 177.20

       In addition, CMS guidance confirms that proper DAW codes are material to payment.

CMS has identified the “inappropriate use of dispense as written (‘DAW’) codes” as an example

of pharmacy fraud, waste, and abuse. SAC ¶ 174. CMS has also asked pharmacies to “[c]onsider

the risk for fraud, waste, or abuse if pharmacy staff members adjudicate claims with inaccurate

product selection [DAW] codes.” Id. The SAC further alleges that DAW codes are “an integral

part of accurate billing” and “[f]ailure to accurately use DAW codes results in misinformation to

the Pharmacy program and its decision making process.” Id. ¶ 173.




20
  The court’s ultimate decision to dismiss the complaint was based on a misunderstanding—which
the relator did not dispute—“that there is no federal regulation requiring substitution of a generic
for a branded drug.” Fox, 38 F. Supp. 3d at 412. As explained above, see supra pp. 12, 22-30,
this is untrue.


                                                  33
       The SAC also alleges that Defendants acted knowingly. Defendants argue (Br. at 36, 38)

that Relator has not alleged a “broad scheme” to use incorrect DAW codes, claiming their

misconduct was the result of “ordinary coding mistakes,” and pinning the blame on an ostensibly

neutral third party: “the pharmacist at the counter.” These protestations ignore the allegations in

the SAC. Ellsworth alleges that Defendants’ fraudulent scheme to block generic competition in

exchange for manufacturer rebates came from the highest levels of CVS Health and affected

numerous companies under the CVS Health umbrella, including SilverScript, CVS Caremark, and

CVS Pharmacies. SAC ¶¶ 18-19, 35, 213, 261, 269, 285, 496, 501, 525, 527, 622-23. Defendants

attempt to draw arbitrary lines between its various entities, suggesting, for example, that “state

pharmacy substitution laws are a pharmacy issue – and not a plan issue.” See SAC ¶ 328 & Ex. 8

atCVS-001795. The SAC, however, alleges Defendants’ top-down scheme removed any choice

from pharmacies, such as forbidding CVS pharmacies from even stocking the generic versions of

the drugs. See, e.g., SAC ¶¶ 15, 246, 247, 280. And Relator has alleged that all the vertically

integrated entities were aligned, thereby enabling Defendants’ scheme. Id. ¶¶ 211, 217, 252, 261,

272, 275, 304, 325. Thus, construing the SAC’s allegations in Relator’s favor, any “mistakes”

made in a CVS pharmacy’s DAW coding were not “innocent,” but rather purposeful efforts to

cover up Defendants’ scheme to avoid filling prescriptions with generic drugs, even when they

were required to do so by state law. Id. ¶¶ 322-38. “The pharmacist at the counter” is anything

but neutral—she works for Defendants. Defendants’ systematic fraud, including “block[ing]

substitution . . . of generic drugs in favor of the much more expensive brand-name” drugs, SAC ¶

9, was a multi-pronged, coordinated effort among CVS’s various subsidiaries. Read in context,

Relator’s DAW allegations provide a plausible inference that Defendants knowingly caused false

claims to be submitted. Foglia, 754 F.3d at 156.




                                                34
               3. The SAC Plausibly Alleges that Denying Formulary Exceptions Caused False
                  Claims to Be Submitted

       Ellsworth details how CCRs systematically misled beneficiaries about the cost of non-

formulary generics to create the impression they would be more expensive. SAC ¶¶ 384, 388, 440,

444, 508, 512, 518, 522, 635, 654, 658. The SAC explains that, even while it kept beneficiaries in

the dark about other, cheaper options, between 2015 and 2018 SilverScript permitted beneficiaries

to seek formulary exceptions as long as they were specifically requested and supported by the

requisite information. Id. ¶ 316. This all changed when CVS Caremark entered into agreements

in late 2018 with Gilead, whereby it agreed it would require SilverScript to deny all formulary

exceptions for the cheaper (identical) generics of Harvoni and Epclusa. Id. ¶ 317.

       The SAC explains that the CVS Caremark rebate agreement with Gilead required

Defendants to deny all formulary exceptions for Harvoni and Epclusa without exception, SAC ¶¶

14, 280, 541, 543-44, 559, 565, 577, 599-602, 605, telling beneficiaries that the brand-name and

the generic “would be expected to have the same effectiveness in treating your condition. The

brand drug on the formulary and its generic contain the same active medications. They both

contain the same inactive ingredients such as dyes, and would be expected to have the same risk

of causing adverse effects (side effects).” Id. ¶¶ 541-42. Not only is this “same effectiveness”

language inherently misleading because all generic drugs, not just Harvoni and Epclusa, would

fall into this category, but if the beneficiary cannot afford the brand-name drug, the brand-name

cannot be as effective as the more affordable generic. Id. ¶ 542. The SAC identifies numerous

specific beneficiaries whose access to the generic versions of Harvoni and Epclusa was blocked,

id. ¶¶ 521-28 (Beneficiary No. 5), 529-37 (Beneficiary No. 6), 538-52 (Beneficiary No. 7), 553-

72 (Beneficiary No. 8), 573-78 (Beneficiary No. 9), 579-83 (Beneficiary No. 10), 584-96

(Beneficiary No. 11), and hundreds of other SilverScript beneficiaries whose formulary exceptions



                                               35
for these Gilead drugs were blocked, using this special blanket denial crafted just for Harvoni and

Epclusa patients (id. ¶ 597).

       Ellsworth also details how, beginning in late 2018, CVS Caremark’s agreements with

Gilead and GSK required that CVS Pharmacies would not stock the generic versions of the Gilead

drugs (Harvoni and Epclusa) or the GSK drugs (Advair Diskus and Ventolin HFA). Id. ¶¶ 15,

244-45, 262, 278, 317, 350, 498, 528, 622-23. As a result, many of the 45 million Part D

beneficiaries who fill their prescriptions at CVS Pharmacies, not just SilverScript beneficiaries,

were unable to obtain the generics for Harvoni, Epclusa, Advair Diskus, and Ventolin HFA. Id.

¶¶ 278, 498, 622. Because Defendants were obligated to offer formulary exceptions for the

generics of these drugs, Defendants’ reimbursement claims to the Government for the more

expensive brand-name drugs were false claims within the meaning of the FCA.

       Defendants argue (Br. at 38-40) that Ellsworth has failed to state a claim because

Defendants were not required to grant formulary exceptions unless the brand-name choice was

clinically ineffective. This ignores the full text of the formulary exception rule, which requires a

formulary exception if the formulary drug “would not be as effective for the enrollee as the non-

formulary drug, would have adverse effects for the enrollee, or both . . . .”           42 C.F.R. §

423.578(b)(5)(i) (emphasis added).       Defendants simply ignore the SAC’s allegations that

Defendants’ formulary drugs (Harvoni and Epclusa) had “adverse effects” for beneficiaries

because they were routinely significantly more expensive than the authorized generics. SAC ¶¶

19, 523-612. Beneficiaries were adversely affected because, without a formulary exception, they

and the Government were forced to make payments for Harvoni (costing $96,381 for a course of

treatment) instead of its generic (costing $36,795 for a course of treatment), or for Epclusa (costing

$75,552 for a course of treatment) instead of its generic (costing $24,249 for a course of treatment).




                                                 36
Id. ¶ 501. Because the brand-name formulary drugs were more expensive than the generics,

beneficiaries suffered increased copayments that pushed them more quickly into the Catastrophic

Stage of their Part D benefit, where beneficiaries and the Government pay greater out-of-pocket

costs (id. ¶ 580). Many beneficiaries could not afford the more expensive brand-name drug. See,

e.g., id. ¶¶ 533-38 (Beneficiary No. 6); 588 (Beneficiary No. 11). Other beneficiaries were forced

to delay needed treatment (id. ¶ 561 (Beneficiary No. 8)) or abandon their lifesaving medications

altogether (id. ¶ 525 (Beneficiary No. 5); id. ¶ 596 (Beneficiary No. 11)). Those are plainly adverse

effects that required Defendants to grant formulary exceptions.

        The SAC further alleges that Defendants knew that denying formulary exceptions as a

matter of course for the authorized generics of Harvoni and Epclusa would adversely impact

SilverScript beneficiaries. CVS Health repeatedly recognized that the cost of drugs was a key

factor for patients to be able to receive the medications that they need. See, e.g., id. ¶ 288 (CVS

touted that it aimed to get the “right drug at the lowest possible cost for patients” because this

allowed patients to “stay on the medications they need”); id. ¶ 296 (citing research that use of

cheaper generics “improves outcomes and saves lives, largely because they are more affordable

for patients and therefore increase patient adherence to their medicine”); id. ¶¶ 543-47 (stating that

the affordability of care has a direct relation to clinical outcomes); id. ¶¶ 544-45.21 Yet, the blanket

denials for formulary exceptions for authorized generics of Harvoni and Epclusa blocked patients’

ability to get access to more affordable drugs, which Defendants knew would adversely impact

their ability to receive the drugs they need. Id. ¶¶ 14, 278, 541, 557, 575, 598.




21
  See SAC ¶ 545 n.344 (citing Josh Lee et al., Addressing the social determinants of health for
Medicare and Medicaid enrollees (2019), available at https://tinyurl.com/2p8ftdmw, and Tany
Feke, How Medicare Addresses Social Determinants of Health (Oct. 25, 2020), https://www.
verywellhealth.com/medicare-social-determinants-of-health-4587338).


                                                  37
       Defendants’ purported excuse for denying formulary exceptions for the authorized generics

of Harvoni and Epclusa was plainly just that. See SAC ¶¶ 541-42. All generic drugs have the

“same active medications” as the brand-name drug and “would be expected to have the same risk

of causing adverse events,” such that they should have the “same effectiveness.” Id. Indeed,

Defendants had never before invoked this “same effectiveness” excuse as a rationale to block

access to other generics (id. ¶¶ 601-02), but limited this excuse to Harvoni and Epclusa, and only

for their SilverScript business, for which the Executive Committee had concluded the limited risk

of detection was offset by the CVS Health substantial financial gain (id. ¶¶ 19, 35, 114-18, 216,

266-67, 274, 498, 527, 529). See also id. ¶ 113 (Defendants did not apply the blanket denials of

Harvoni and Epclusa to new enrollees because such conduct risked additional CMS auditor

scrutiny). These allegations more than suffice at this stage of the pleadings to lead to “a strong

inference that [false] claims were actually submitted.” Foglia, 754 F.3d at 156.

       Defendants contend (Br. at 39-40) that, even if they wrongfully denied formulary

exceptions for authorized generics, their conduct was harmless because beneficiaries could have

rectified such error by filing an appeal. Although beneficiaries may appeal denials of formulary

exceptions, the SAC alleges that Defendants counted on the fact that the vast majority of

beneficiaries, faced with intentionally deceptive statements that the generic alternatives would be

more expensive, SAC ¶¶ 384, 388, 440, 444, 508, 512, 518, 522, 635, 654, 658, or were not

available, id. ¶¶ 386-87, 412-13, 442-43, 472-73, 482-83, 510-11, 520-521, 634, 656-57, 692-93,

would not appeal at all.22 Id. ¶¶ 10, 19, 64, 106, 377, 439, 555. The result of Defendants’



22
   According to a study by the HHS Office of the Inspector General concerning Medicare Part D
claims rejections, in 2017, only 0.3% of all claims resulted in beneficiaries making coverage
determination requests to Part D Plan Sponsors. See U.S. Dep’t of Health & Human Servs., Office
of Inspector Gen., Some Medicare Part D Beneficiaries Face Avoidable Extra Steps That Can
Delay or Prevent Access to Prescribed Drugs (hereinafter “OIG Report”) at 28 (2019), available


                                                38
deception, therefore, was that beneficiaries who were denied formulary exceptions could not afford

the drugs they needed or, at best, received them only after a delay. Id. ¶¶ 64, 302, 377. Such harm

to beneficiaries was well known (and expected) by Defendants. Id. ¶¶ 15, 19, 35, 216, 263, 271,

287, 498, 503, 527, 529, 624, 627.

       Indeed, the risk of such harm was forewarned in the September 2019 HHS Office of the

Inspector General (“OIG”) report concerning Part D coverage rejections, explaining that “these

extra steps [in the administrative appeals process] may delay beneficiary access to needed drugs,

or deter them from getting the drugs if they are unable or unwilling to spend time navigating the

approval process.” OIG Report at 11 (emphasis added). According to the OIG, a Part D Sponsor’s

complex coverage rules can “lead to confusion among prescribers and beneficiaries,” and delay

access to needed medications. Id. at 1. The OIG warned that “[w]hen beneficiaries do file

formulary exception requests, the short timeframes required for processing requests (intended to

promote timely access to needed drugs) often lead to denials if sponsors are not able to obtain

supporting information within the allotted timeframe.” Id. And “even low rates of denied or

delayed medically necessary drugs or reimbursement could contribute to physical or financial

harm for many Medicare beneficiaries.” Id. (emphasis added).

       This outright denial of a beneficiary’s right to seek a formulary exception is exactly what

happened to Beneficiary No. 15, a 78-year-old retired nurse from Massachusetts, who called in to

CVS Health on February 29, 2019 to request a formulary exception to receive Wixela, the cheaper

generic version of the brand-name drug Advair Diskus. As she had been instructed to do, the

Customer Care Representative (“CCR”) told Beneficiary No. 15 that she could not receive a



at https://oig.hhs.gov/oei/reports/oei-09-16-00411.pdf. See also Sturgeon v. Pharmerica Corp.,
438 F. Supp. 3d at 259 (“information found on government websites is widely considered both
self-authenticating and subject to judicial notice”).

                                                39
formulary exception for the generic drug: “[I]n cases where the note says dispense brand, you have

to get the brand . . . . [T]here’s no way you can get a formulary exception on that . . . .” SAC, Ex.

74 at 2. The CCR subsequently reiterated that “[t]here’s no exception on that.” Id. at 3. The

allegations in the SAC (i.e., that beneficiaries’ access to cheaper generic drugs through a formulary

exception was blocked) more than suffice to lead to an inference that Defendants’ conduct caused

false claims for the more expensive brand-name drugs to be submitted to the Government. Foglia,

754 F.3d at 156.

       Defendants further argue (Br. at 39-40) that, absent allegations that the administrative

review process “would have reversed the denial of these unwarranted formulary exceptions,”

Relator’s claim, based on the denial of formulary exceptions, must fail. The Court, however, can

take judicial notice of the OIG’s findings that “Sponsors overturned 73 percent of drug coverage

denials that were appealed” in 2017. OIG Report at 14. Not only that, but the OIG calculated that

in 2017 (a) approximately 19% of the cases appealed to the next level, independent review entity,

were overturned; (b) approximately 27% of the cases appealed to the next level, Office of Medicare

Hearings and Appeals, were overturned; and (c) approximately 31% of the cases appealed to the

next level, Departmental Appeals Board, were overturned. Id. at 29. Thus, the OIG Report

suggests that a significant number of rejected claims are overturned on appeal such that,

statistically speaking, a high percentage of Defendants’ denials of formulary exceptions were

likely improper and would have been reversed on appeal. But even putting that aside, “[t]hese

overturned denials could have been avoided if sponsors had received, and correctly processed, all

relevant information at the first request.” Id. at PDF p. 2 (emphasis added). Thus, the SAC

plausibly alleges that, for most SilverScript beneficiaries, the denial of a formulary exception

harmed beneficiaries. Defendants knew that beneficiaries would be harmed because they would




                                                 40
either be discouraged from filing an appeal or would suffer substantial delay during the appeals

process, even if such an appeal were ultimately successful.

               4. The SAC Plausibly Alleges Defendants’ Fraudulent Marketing Caused the
                  Submission of False Claims.

       The SAC alleges that SilverScript’s solicitation materials provided to prospective Part D

beneficiaries emphasize that it is “All about you,” deceptively telling seniors that it will always act

only on behalf of beneficiaries and not in its own self interest. Id. ¶ 234. Ellsworth alleges these

marketing claims are materially inaccurate. Id. ¶ 241. For the fifteen identified brand-name drugs,

SilverScript harmed beneficiaries by effectively preventing their access to less expensive generic

versions of those drugs through denying and discouraging formulary exceptions. The SAC details

that SilverScript’s marketing materials fail to disclose that for many beneficiaries its brand-name

formulary choices would actually drive their costs into the Donut Hole and Catastrophic Coverage

Stages much sooner, dramatically increasing beneficiaries’ out-of-pocket costs, as well as the

Government’s share of costs. Id. ¶ 242. Because of SilverScript’s marketing misrepresentations

and false promises, Part D beneficiaries were fraudulently induced to join SilverScript’s plan,

thereby causing beneficiaries to then submit false claims for the brand-name drugs to the

Government. As a result, all claims for reimbursement which Defendants submitted, or caused to

be submitted, to the Government were false claims. See, e.g., United States ex rel. Miller v. Weston

Educ., Inc., 840 F.3d 494, 500-01 (8th Cir. 2016) (false promise can be the basis for fraudulent

inducement claim); United States ex rel. Hendow v. Univ. of Phoenix, 461 F.3d 1166, 1173-74 (9th

Cir. 2006) (same).

       Defendants make four arguments (Br. at 40-44) that the SAC’s marketing allegations are

insufficient to state a claim under the FCA. All are incorrect.




                                                  41
       First, Defendants claim (Br. at 41) that the SAC fails to allege a causal link between the

fraudulent representations made and the submission of false claims.         This circuit uses the

“substantial factor” test to determine causation, asking whether the harm was a “normal

consequence” of the situation created by the defendant’s scheme. United States ex rel. Schmidt v.

Zimmer, Inc., 386 F.3d 235, 244-45 (3d Cir. 2004); see also United States ex rel. Galmines v.

Novartis Pharms. Corp., No. CIV.A. 06-3213, 2013 WL 2649704, at *11 (E.D. Pa. June 13, 2013)

(“[T]he complaint plausibly suggests that doctors wrote off label-Elidel prescriptions because of

Novartis’s marketing, and that Novartis’s actions thus played a substantial and foreseeable role in

the submission of false claims.”), modified in part on other grounds, 2013 WL 5924962 (E.D. Pa.

Nov. 5, 2013). That standard is easily satisfied here.

       The SAC alleges that SilverScript’s marketing materials falsely told seniors that they can

“trust” SilverScript to act on their behalf “every day, in every way.” SAC ¶¶ 236, 238-39.

SilverScript’s “Brand Promise” was that “every prescription is more than a mere transaction; each

is a commitment to demonstrate our expertise and sole focus on delivering Part D coverage that

helps participants on their path to better health.” Id. ¶ 239 (emphasis added). Not only that, but

SilverScript promised it would help beneficiaries “save money” and “cover the cost” of their

expensive drugs. Id. ¶ 242. The glossy marketing promised seniors SilverScript would “protect

your health savings.” Id. ¶ 243.

       These representations were materially misleading.        One former SilverScript actuary

admitted that SilverScript’s marketing claims were often inaccurate, acknowledging that “there

are winners and losers” as a result of Defendants’ scheme. Id. ¶ 317. When he complained about

the high cost of Copaxone for Part D beneficiaries, he was told the increased costs “were not an

issue” because most of the costs for LIS beneficiaries would be subsidized by the Government,




                                                42
underscoring that CVS Health management had little concern for the impact on non-LIS

beneficiaries and the Government, who were the “losers” in the scheme. Id. ¶ 367. Not only that,

but CVS Health knew that, even for many low-income LIS beneficiaries, the additional copayment

cost (though minimal) for a brand-name drug would push them even further into poverty. Id. ¶¶

14, 278, 541, 557, 575, 598. For example, when an 82-year-old Florida woman called to get a

formulary exception for the cheaper generic form of Asacol HD, the message was “tough luck.”

Id. ¶¶ 241, 443-50.

       Relator has thus more than adequately alleged that the fraudulent marketing materials were

a substantial factor in causing SilverScript beneficiaries to choose its plans, relying on false

promises that it would always act on their behalves, when in fact beneficiaries and the Government

were generally on the losing end of Defendants’ efforts to obstruct access to less costly generic

drugs. These allegations offer a strong inference that beneficiaries relied on these fraudulent

marketing representations in choosing a SilverScript plan, believing SilverScript would make less

costly generic drugs available, only to learn later that their choices were limited to more expensive

brand-name drugs, for which they submitted reimbursement claims to the Government. SAC

¶¶ 233-44. While these allegations alone offer a “strong inference” that false claims were

submitted, the SAC provides numerous specific examples of false claims that were submitted to

plausibly infer the fraudulent marketing caused the submission of false claims. See also Purcell

v. Gilead Scis., Inc., 439 F. Supp. 3d 388, 397-98 (E.D. Pa. 2020). Accepting as true all of

Ellsworth’s allegations, the SAC sufficiently alleges a normal consequence of the deceptive claims

in the SilverScript marketing materials would be the submission of false claims to the Government.




                                                 43
       Second, Defendants contend (Br. at 41-44) they have no liability with regard to their

marketing materials.23 This argument is unavailing. First, although they suggest that CMS

approved their marketing materials (Br. at 41), even Defendants admit that CMS reviewed those

materials only to ensure that they accurately reflected what was in their Part D bid. CMS’s review

would not have disclosed Defendants’ systematic deception of beneficiaries or its blanket denials

of formulary exceptions. CMS’ approval, therefore, is by no means a get-out-of-jail-free card for

Defendants at this stage of the pleadings.

       Defendants’ assertion (Br. at 42) that they had no obligation to warn beneficiaries that

requests for formulary exceptions for cheaper generics would be blocked is simply not true. CMS

regulations require SilverScript to provide “clear” and “accurate” (42 C.F.R. § 423.128(a)(2)) cost-

sharing information such as copayments, deductibles, and coinsurance (42 C.F.R. §

423.128(b)(2)(iii)).   CMS prohibits the distribution of “communications that are materially

inaccurate, misleading, or otherwise make misrepresentations or could confuse beneficiaries.”

CMS, Medicare Marketing Guidelines § 30.7 (2018), available at https://www.cms.gov/Medicare/

Health-Plans/ManagedCareMarketing/Downloads/CY2019-Medicare-Communications-and-

Marketing-Guidelines_Updated-090518.pdf.24 CMS also requires inclusion of disclaimers when

benefit information is included in marketing materials.       Id. at 63.   No disclaimer warned

prospective SilverScript enrollees that requests for formulary exceptions for certain generic drugs

would be summarily denied, or that SilverScript would discourage beneficiaries from seeking



23
   The regulations Defendants cite were not effective until March 22, 2021, twenty months after
the Ellsworth case was filed. See Contract Year 2022 Policy and Technical Changes to the
Medicare Program, 86 Fed. Reg. 5864, 5864 (Jan. 19, 2021).
24
   The Court may take judicial notice of this document because it is a “readily available guidance
document[] whose accuracy” cannot be questioned. See Travis, 2022 WL 991382, at *7.
Moreover, “information found on government websites is widely considered both self-
authenticating and subject to judicial notice.” Sturgeon, 438 F. Supp. 3d at 259.


                                                44
formulary exceptions by misleading them to believe that, even if they requested and obtained a

formulary exception for a generic drug, the generic drug would be more expensive. SAC ¶¶ 243-

48. Instead, when discussing benefit information, the SilverScript 2019 and 2020 Plan Decision

Guides for prospective enrollees tout throughout only “low copays and coinsurance” and

“[c]omprehensive coverage with low copays,”25 id. ¶¶ 236, 238, with no warning whatsoever that

they would have no access to less costly generics, even through requests for formulary exceptions.

       Defendants’ argument (Br. at 43) that 42 C.F.R. § 423.132 does not require Part D sponsors

to inform beneficiaries of price differentials between brand-name drugs and generics relies on the

palpably false premise that the regulation’s reference to “covered drugs” means only formulary

drugs. Not true. Non-formulary drugs that are approved under a formulary exception are

“covered” under Medicare Part D. See PDB Manual § 10.2 (“A covered Part D drug is a Part D

drug that is . . . treated as being included in a Part D plan’s formulary as a result of a coverage

determination or appeal . . . .”). See also 42 C.F.R. §§ 423.100 (definition of “Covered Part D

Drug”), 423.566 (coverage determinations); 423.578(a), (b) (exceptions process).26 Nor does the

rule require the beneficiary to ask for the generic via a formulary exception before the obligation



25
   The only disclaimers provided are about potential savings for using preferred pharmacies (p. 17,
n. 5) and that the formulary may change at any time. Footnote 5 of the SilverScript 2019 Plan
Decision Guide only notified beneficiaries that there would be a difference in savings if they used
a “preferred” pharmacy: “Percent savings based on SilverScript preferred vs. standard pharmacy
copays. Savings may vary by state, drug tier and coverage stage. Call Customer Care for specific
pricing of your medications.” Under “Benefit Reminders,” the Guide provided language required
by CMS in all marketing materials, stating only that “[t]he formulary and pharmacy network may
change at any time. You will receive notice when necessary.” Nothing in these disclaimers put
prospective enrollees on notice of the SSG/DNS scheme to block access to cheaper generics.
26
   See also Medicare Program; Medicare Prescription Drug Benefit, 70 Fed. Reg. 4194, 4224
(Jan. 28, 2005) (“We use the term ‘covered Part D drug’ to refer to a drug that not only is a Part D
drug, but that is included in a Part D plan’s formulary or treated (through a coverage determination
or appeal described in subpart M of this preamble) as being included in a Part D plan’s formulary,
and is obtained at a network pharmacy or at an out-of-network pharmacy in accordance with §
423.124 of our final rule.”).


                                                45
to disclose differential pricing arises. SAC ¶ 144.27 This only makes sense. As CMS explained,

“such disclosure will provide enrollees – many of whom may not know that less expensive generic

equivalents are available – with valuable information that will save money for beneficiaries, Part

D plans, and Medicare.” SAC ¶ 148 (quoting 70 Fed. Reg. at 4276).

       Defendants contend (Br. at 43) that the Call Center statements to beneficiaries were not

misleading. But this argument simply ignores the SAC’s well-pled allegations, including:

          When beneficiaries called to request access to cheaper non-formulary generic drugs,

           Defendants’ CCRs were instructed to inform beneficiaries that they could request a

           formulary exception, but such an exception would be approved at the “highest cost

           share level.” SAC ¶¶ 380, 388, 410, 437, 440, 444, 468, 471, 475, 477, 480, 484, 505,

           508, 512, 515, 518, 522, 629, 632, 635, 651, 654, 658, 687, 690, 694. This language

           was intentionally deceptive because “highest cost share level” suggested that the

           generic drug would be more expensive than the brand-name, on-formulary drug, even




27
  Industry comments to the proposed regulations asked that pharmacies not be required to disclose
pricing information unless the beneficiary had requested this information. CMS rejected this
suggestion, responding that pharmacies must in all instances disclose the price of equivalent
generic drugs:

       Comment: One commenter concerned with the burden on pharmacies to disclose pricing
       information stated that the disclosure requirement should be limited to cases in which an
       enrollee asks for this information at the pharmacy.

       Response: . . . Part D plans must require network pharmacies, except for those which
       we have specifically exempted from the requirement, to disclose information about price
       differentials. We cannot limit this requirement to circumstances in which an enrollee
       specifically asks for the information. Furthermore, we believe such disclosure will
       provide enrollees—many of whom may not know that less expensive generic equivalents
       are available—with valuable information that will save money for beneficiaries, Part
       D plans, and Medicare.

70 Fed. Reg. at 4275 (emphasis added).


                                               46
           though the generic drug approved through a formulary exception would have still been

           cheaper than the brand-name formulary drug. See id. ¶¶ 384, 388, 440, 444, 508, 512,

           518, 522, 635, 654, 658.

          CCRs were to tell beneficiaries that generic drugs were not available on the formulary

           because of “market conditions outside [CVS Health’s] control.” See id. ¶¶ 385, 411,

           441, 472, 481, 509, 519, 633, 655, 691. This was misleading, see id. ¶¶ 386-87, 412-

           13, 442-43, 472-73, 482-83, 510-11, 520-521, 634, 656-57, 692-93, because the non-

           availability of generics was a direct result of Defendants’ formulary choices and their

           decision to discourage or block formulary exceptions.

          In calls and letters regarding two of the brand-name drugs at issue (Harvoni, Epclusa),

           Defendants misrepresented that beneficiaries could request formulary exceptions, even

           though Defendants, pursuant to their agreement with Gilead, had agreed to uniformly

           deny all such exceptions. Id. ¶¶ 14, 280, 500, 505, 508, 512, 515, 522, 540-554, 559,

           577, 600, 605, 608.

       Third, Defendants brazenly declare (Br. at 43-44) that, even if Defendants misled

beneficiaries about the availability or pricing of non-formulary generics, they cannot be held liable

because their obligation to disclose accurate information extends only to formulary drugs. As

explained above, however, Defendants were required to share truthful information, including

information about access to formulary exceptions for a “Covered Part D Drug.” See supra pp. 45-

46.

       Fourth, Defendants argue (Br. at 44) that their interpretation of whether CMS required

them to disclose truthful information about cheaper generic drugs, even if mistaken, was still

“objectively reasonable” because the plan “chose not to cover” cheaper generic drugs. This




                                                 47
argument ignores the SAC’s allegations that Defendants deceived beneficiaries into believing

generic drugs covered under a formulary exception would be more expensive than on-formulary

brand-name drugs. Thus, Defendants did not merely “cho[o]se not to cover” cheaper generics;

they prevented beneficiaries from even determining whether those drugs could have been covered

on the non-formulary tier, and at what price, in the first place. Since the statute went into effect

on January 1, 2006 (42 U.S.C. § 1395w-101(a)(2)), Defendants have known that they could not

make misleading statements about covered drugs, which includes drugs that could be covered

pursuant to a formulary exception. Thus, Defendants knew that their deception of Part D

beneficiaries meant it was defrauding the Government. SAC ¶¶ 1, 10, 24, 89, 276, 351, 475, 528-

29, 625.

       Moreover, Defendants’ intentional concealment of their misconduct belies any argument

that their view of the law was objectively reasonable. Defendants made considerable efforts to

conceal their scheme to deceive vulnerable elderly, ESRD, and disabled beneficiaries. Publicly,

when their senior officials were pressed whether they engaged in this kind of fraudulent conduct,

they concealed their misconduct (SAC ¶¶ 23, 26, 113, 269-270, 288-290, 292-302, 305, 309-15,

320, 341, 546, 548, 659), instead telling policymakers that CVS Health was “committed to finding

the right drug at the lowest possible cost for patients to ensure they are able to access and stay on

the medications they need,” SAC ¶ 288, and were focused on “developing strategies that help

lower costs for clients and their plan members,” id. ¶ 289. Defendants also sought to prevent CMS

auditors from detecting their scheme, id. ¶¶ 113-18, 498, 529, 544, 626, including directing Ms.

Miller to engage in an off-the-books tracking of whether Defendants’ scheme would create enough

“member disruption” to trigger CMS scrutiny. Id. ¶¶ 115-18. In addition, Defendants did not

apply their scheme to new enrollees where it would be subject to additional CMS auditor scrutiny




                                                 48
(id. ¶ 113), but specifically limited their scheme to SilverScript Part D beneficiaries so that there

would be less likelihood of customer pushback (id. ¶¶ 266-67). Such allegations of concealment

strongly support an inference that Defendants knew their conduct was unlawful. See, e.g., United

States ex rel. Suarez v. AbbVie, Inc., 503 F. Supp. 3d 711, 735 (N.D. Ill. 2020) (allegations of

concealment “now push across the line and permit an inference that AbbVie knew its conduct was

not permissible”).

       Accepting the factual allegations as true, and “making all reasonable inferences to be drawn

therefrom in the light most favorable to the plaintiff,” Anthony v. Council, 316 F.3d 412, 416 (3d

Cir. 2003), the SAC plausibly alleges that the marketing materials were materially inaccurate and

misleading in that they failed to disclose that Defendants were blocking beneficiaries’ access to

cheaper generic drugs by denying and/or discouraging formulary exceptions, thereby resulting in

the submission of false claims for brand-name drugs.

               5. The SAC Plausibly Alleges Defendants Falsely Certified Compliance with
                  Federal Laws and Regulations

       The SAC alleges an express false certification claim that Defendants falsely certified that

their compliance program was adequate to ensure the integrity of its claims, falsely attested to the

accuracy and truthfulness of the PDE claims submitted, and falsely certified that they complied

with Federal laws and regulations “designed to prevent or ameliorate fraud, waste, and abuse,

including, but not limited to . . . the False Claims Act . . . .” SAC ¶¶ 22, 69-73, 77-98, 212-19.

These express certification claims are “well founded” in the law. See United States ex rel. Wood

v. Allergan, Inc., 246 F. Supp. 3d 772, 813 (S.D.N.Y. 2017), rev’d on other grounds, 899 F.3d 163

(2d Cir. 2018). “Under the ‘express false certification’ theory, an entity is liable under the FCA

for falsely certifying that it is in compliance with regulations which are prerequisites to




                                                 49
government payment in connection with the claim for payment of federal funds.” Wilkins, 659

F.3d at 305.

       Defendants contend (Br. at 44) that the SAC’s allegations concerning its compliance

program are inadequate and should be dismissed. Again, Defendants completely mischaracterize

Relator’s allegations. The SAC alleges that Defendants falsely certified compliance with the law

when, in fact, they were systematically engaged in illegal conduct, deceiving Part D beneficiaries,

and routinely blocking formulary exceptions for access to cheaper generic drugs. SAC ¶¶ 99-107,

219. Defendants falsely certified compliance with the law in order to evade detection. Id. ¶¶ 176,

329. SilverScript and its subcontractors certified they were in full compliance with Federal laws

and regulations “designed to prevent or ameliorate fraud, waste, and abuse, including, but not

limited to . . . the False Claims Act . . . .” Id. ¶¶ 73, 171, 177-78, 210. But that compliance program

was a sham. Id. ¶¶ 214. As one example, wary that CMS would sanction CVS for non-compliance

(as it did in 2012 and 2015, id. ¶¶ 108-13), CVS management directed Ms. Miller to monitor

behind the scenes any “member disruption” regarding Defendants’ scheme to block access to the

generic versions of Harvoni and Epclusa to ensure that CMS would not become aware of the

scheme and sanction it further (id. ¶¶ 113-16). When Ms. Miller raised a concern that this was a

compliance violation, she was told that Defendants’ senior managers, including Patrick Jeswald,

Chief Compliance Officer, Medicare Part D, had already signed off. Id. ¶¶ 117-19.

       The SAC thus more than adequately alleges that Defendants certified their compliance with

regulations governing their receipt of federal funds even though Defendants knew that their

conduct was not in compliance. See, e.g., United States ex rel. Spay v. CVS Caremark Corp., 913

F. Supp. 2d 125, 158 (E.D. Pa. 2012) (Relator adequately alleged false certification claim with

regard to Part D).




                                                  50
               6. The SAC Plausibly Alleges False Claims for Violations of the Firewall and
                  FTC Consent Order

       The SAC further alleges that Defendants breached the terms of two agreements with the

FTC—a firewall and a consent order—resulting in reverse false claims. Pursuant to the firewall

agreement, CVS and Caremark vowed to maintain “stringent firewall protections between [its]

CVS Pharmacy retail business and [its] CVS Caremark PBM business to prevent any anti-

competitive activity.” SAC ¶ 248. CVS Health represented that the “firewall policy prevents

SilverScript employees from accessing competitively sensitive information Caremark has

collected from health plans that compete with SilverScript in the Medicare Part D area. There are

robust compliance protocols in place at CVS Health to prevent any improper exchanges of

information across its business units.” Id.

       Following an FTC investigation into the potential anti-competitive effects of the CVS-

Caremark merged retail pharmacy/PBM into one business, the FTC entered into a settlement and

consent order with CVS, pursuant to which CVS admitted liability and agreed to pay $5 million to

resolve allegations that it had lied about the pricing of drugs to induce beneficiaries to select

Medicare Part D coverage from its subsidiary RxAmerica. Id. ¶ 257. In the Agreement and

Consent Order, CVS agreed for a period of twenty years that it would not “misrepresent, in any

manner, or assist others in misrepresenting, in any manner, directly or indirectly, expressly or by

implication, the prices or costs associated with Medicare Part D prescription drug plans.” Id. ¶

259.

       Defendants assert (Br. at 45-46) that Relator’s reverse false claims, based on breaches of

the FTC firewall and Consent Order, should be dismissed. They are mistaken.




                                                51
       First, Defendants argue (Br. at 45) that, because the 2007 FTC firewall28 and 2012 FTC

Consent Order are not themselves federal laws designed to prevent fraud, waste, and abuse, they

cannot be the basis for a false certification claim. This misses the point entirely. Both the firewall

and the Consent Order were premised on Federal Trade Commission (“FTC”) laws regulating

fraud against consumers. Indeed,

       Section 5(a) of the FTC Act provides that ‘unfair or deceptive acts or practices in
       or affecting commerce . . . are . . . declared unlawful.’ 15 U.S.C. Sec. 45(a)(1).
       ‘Deceptive’ practices are defined in the Commission’s October 14, 1983 Policy
       Statement on Deception as involving a material representation, omission or practice
       that is likely to mislead a consumer acting reasonably in the circumstances. An act
       or practice is ‘unfair’ if it ‘causes or is likely to cause substantial injury to
       consumers which is not reasonably avoidable by consumers themselves and not
       outweighed by countervailing benefits to consumers or to competition.’ 15
       U.S.C. Sec. 45(n).29

As such, the laws underlying the firewall and the Consent Order are clearly intended to prevent

fraud, waste, and abuse. Defendants’ certifications that they were complying with FTC laws

underlying the firewall and the Consent Order are exactly the kind of express false certifications

that trigger liability under the FCA.

       Second, Defendants assert (Br. at 45-46) that compliance with the firewall and Consent

Order is immaterial because it has nothing to do with CMS’s payment decision. Again, this misses

the point entirely. Instead, Defendants are liable for violation of the firewall and the Consent Order




28
   Defendants’ footnote that “no firewall has ever existed” (Br. at 45, n.17) is belied by both the
allegations in the SAC and the testimony of Melissa A. Schulman, CVS Health Senior Vice
President, Government Relations, on behalf of the company before the New York State Assembly
that the firewall had been part of its promise to the FTC in 2007 at the time of the merger between
CVS and Caremark, as well as part of its Code of Conduct. SAC ¶ 252. She also confirmed that
the firewall prevented the CVS Health entities from “coming together to maximize [its] power and
profit.” Id. ¶ 253.
29
   See FTC, A Brief Overview of the Federal Trade Commission’s Investigative, Law Enforcement,
and Rulemaking Authority (May 2021), https://www.ftc.gov/about-ftc/mission/enforcement-
authority (emphasis in original).

                                                 52
under 31 U.S.C. § 3729(a)(1)(G), the “reverse false claims” provision, for “knowingly mak[ing],

us[ing], or caus[ing] to be made or used a false record or statement to conceal, avoid, or decrease

an obligation to pay or transmit money or property to the government.” For example, by its terms,

the 2012 Consent Order stated that, for a period of twenty years, CVS and its subsidiaries “shall

not misrepresent, or assist others in misrepresenting, in any manner, expressly or by implication,

the price or cost of Medicare Part D prescription drugs or other prices or costs associated with

Medicare Part D prescription drug plans.” SAC ¶ 259. The Commission explained that, “to the

extent that [CVS Health] and/or any of its subsidiaries . . . violates the terms of the Commission’s

final order, such as by mispresenting the price or cost of Medicare Part D prescription drugs, it

would be liable for civil monetary penalties of up to $16,000 per violation pursuant to Section 5(1)

of the FTC Act.” Id. ¶ 262. Pursuant to that provision, the SAC adequately alleges that, because

Defendants violated the Consent Order, Defendants have “an obligation to pay or transmit money”

to the Government, which they have concealed or avoided through the use of false records or

statements.

       Nor must Ellsworth allege that “CMS consistently refuses to make payments when there

has been a violation” of the firewall or the Consent Order. See Br. at 46. Under the reverse false

claims provision, Relator need only allege knowing retention of an overpayment. Whether CMS

refuses to make payments in such circumstances is irrelevant. United States ex rel. Customs Fraud

Investigations, LLC. v. Victaulic Co., 839 F.3d 242, 255 (3d Cir. 2016) (CFI need only prove

that Victaulic knew its pipe fittings were improperly marked and did not notify the Bureau

of Customs and Border Protection); United States ex rel. Prather. v. Brookdale Senior Living

Cmtys., Inc., 838 F.3d 750, 774 (6th Cir. 2016) (Under § 3729(b)(3), “there is no . . . need to show

the affirmative use of a false record or statement in connection to the avoidance of an obligation




                                                53
to pay money to the United States . . . . [T]he knowing retention of an overpayment is enough.”

(citation and internal quotation marks omitted)); see also Joel Hesch, Understanding the Revised

Reverse False Claims Provision of the False Claims Act and Why No Proof of a False Claim is

Required, 53 UIC J. Marshall L. Rev. 461, 471 (2021).

       The SAC alleges that Defendants knowingly violated the terms of the firewall (SAC ¶¶ 7,

9, 21, 95, 219, 250-54, 272-77, 327, 329, 343, 353, 626) and the Consent Order (id. ¶¶ 17, 21, 219,

247, 255-63, 274, 341, 343, 353, 530, 539, 574, 603, 609, 644, 711) through their scheme to

deceive SilverScript beneficiaries and “once again [misled] beneficiaries ‘expressly or by

implication’ about the prices or costs (in addition to access) of the SilverScript plan.” Id. ¶ 261.

Because Defendants knowingly refused to pay the fines owing under the firewall and the Consent

Order, Relator has stated a claim that Defendants violated their obligations to pay the Government,

which is an “established duty” as contemplated by 31 U.S.C. § 3729(b)(3). See United States ex

rel. Boise v. Cephalon, Inc., No. 08-287, 2015 WL 4461793, at *1, *6-7 (E.D. Pa. July 21, 2015)

(holding that the violation of a corporate integrity agreement created an “obligation,” even though

the agreement specified that “failure to comply . . . may lead to the imposition of” fines) (emphasis

added)).

       C. The SAC Adequately Alleges Conspiracy Claims

       Defendants’ argument (Br. at 46-48) that the SAC fails to state a conspiracy claim is deeply

flawed, ignoring Ellsworth’s well-pled allegations.30 31 U.S.C. § 3729(a)(1)(C) extends FCA

liability to those who conspire to commit a violation of any substantive provision of § 3729(a).

Contrary to Defendants’ argument (Br. at 47-48) that the conspirators must have specifically



30
  Because Ellsworth only alleges a conspiracy count with regard to the CVS Caremark agreements
with the drug manufacturers (Count III, SAC § 720-722), the Court need not address Defendants’
intracorporate conspiracy argument as it is completely irrelevant.

                                                 54
agreed to violate the FCA, Section 3729(a)(1)(C) does not require explicit intent to violate the

FCA itself. Rather, Section 3729(a)(1)(C) only requires a violation of the other provisions of

Section 3729(a), including, for example, knowingly presenting, or causing to be presented, a false

or fraudulent claim (§ 3729(a)(1)(A)) or knowingly making or causing to be made false records or

statements material to a false or fraudulent claim (§ 3729(a)(1)(B)). To state a claim for

conspiracy, Relator need only describe the general composition of the conspiracy, some or all of

its broad objectives, and the general roles in the conspiracy. See Rose v. Bartle, 871 F.2d 331,

366-67 (3d Cir. 1989); United States ex rel. Budike v. Peco Energy, No. 07-4147, 2013 WL

5890650, at *5 (E.D. Pa. Nov. 4, 2013) (collecting cases). “The essence of a conspiracy under the

Act is an agreement between two or more persons to commit a fraud.” United States ex rel.

Piacentile v. Sanofi Synthelabo, Inc., No. 05-2927, 2010 WL 5466043, at *9 (D.N.J. Dec. 30,

2010) (internal quotation marks omitted).

       Defendants are mistaken that the SAC fails to allege how they conspired with the drug

manufacturers and thereby caused the Part D program to be defrauded. Br. at 47-48. The SAC

alleges how CVS Caremark and the drug manufacturers entered into rebate agreements whereby

cheaper (often identical) generics would be blocked on SilverScript formularies (SAC ¶¶ 3-12),

requiring SilverScript to deceive Part D beneficiaries about getting formulary exceptions to access

these cheaper drugs (id. ¶¶ 354-711). Ellsworth alleges, for example, how CVS Caremark entered

into the Copaxone “House Brand” scheme to block access to the cheaper generic (id. ¶¶ 372-78),

quoting a Teva employee: “[I]f a doctor orders generic glatiramer or the pharmacy benefit

[manager] mandates it be filled as a generic, it will come in a plain box with Copaxone inside.

Win-win for all.” Id. ¶ 376. But the Copaxone scheme between CVS Caremark and Teva meant

that “many SilverScript beneficiaries were left holding the bag on increased costs for Copaxone in




                                                55
the Catastrophic Coverage stage of their Part D benefit.” Id. ¶ 377. Many beneficiaries could not

afford the additional cost and were forced to skip their treatments. Id. The SAC further details

the CVS Caremark deal regarding Harvoni/Epclusa with Gilead, requiring that SilverScript deny

all formulary exceptions for the cheaper generic (id. ¶¶ 14, 114, 280, 294, 319, 495-503), and even

requiring that CVS Pharmacies no longer stock the generic drugs (id. ¶¶ 15, 246-47, 264, 280, 319,

352, 500, 530). The SAC also details how the Defendants’ agreement with GSK required the CVS

Pharmacies not to stock the generic versions of either Ventolin HFA or Advair Diskus. Id. ¶¶ 15,

280, 319, 624-25. The SAC explains how the rebate agreements required Defendants to deceive

Part D beneficiaries about the price and availability of generic drugs and facilitated the drug

manufacturers’ efforts to delay competition through evergreening, product hopping, pay-for-delay,

sham patent litigation, sham Citizen’s petitions, authorized generics, and other schemes (id. ¶¶ 6,

291, 370-78 (Copaxone), 399-406 (Invega), 424-35 (Asacol HD), 456-466 (Renvela), 495-503

(Harvoni/Epclusa), 616-627 (Ventolin HFA), 645-649 (Canasa), 679-685 (Advair Diskus).

       Ellsworth thus more than plausibly alleges that these actions in furtherance of the alleged

conspiracy were undertaken pursuant to rebate agreements between CVS Caremark and the drug

manufacturers and that it was foreseeable that Defendants’ conduct to block access to generic

drugs would result in false claims being submitted to the Government. There is therefore little

ambiguity in the SAC’s allegations that Defendants agreed to enter into a conspiracy with the drug

manufacturers and took actions in furtherance of that conspiracy. At the pleadings stage, these

allegations provide sufficient circumstantial evidence from which the Court can easily infer the

existence of an agreement to violate the FCA. See Travis, 2022 WL 991382, at *10 (E.D. Pa. Apr.

1, 2022) (Court can “infer the existence of an agreement” between Gilead and the PAN Foundation

to violate the False Claims Act “by specifically directing donations to subsidize the copays of




                                                56
patients who have been prescribed Sovaldi or Harvoni”); United States ex rel. Boise v. Cephalon,

Inc., Civ. No. 08-287, 2015 WL 1724572, at *14 (E.D. Pa. Apr. 15, 2015) (“[T]here is . . . little

ambiguity in the second amended complaint’s allegations that Takeda agreed to enter into a

conspiracy with Cephalon and allegedly took actions in furtherance of that conspiracy.”); United

States ex rel. Gohil v. Sanofi-Aventis U.S. Inc., 96 F. Supp. 3d 504, 523 (E.D. Pa. 2015) (finding

“sufficient circumstantial evidence that the doctors agreed with Aventis to increase their usage

of Taxotere and to submit false certifications that the claims were not tainted by an illegal

kickback”).

       D. The SAC Is Not Barred by Public Disclosure

       Defendants contend (Br. at 48) that Relator’s action is barred by public disclosure because

the fraud at issue was purportedly “publicly disclosed in congressional hearings, the news media,

and federal reports.” Defendants, however, entirely misconstrue the nature of the fraud alleged.

With regard to Relator’s actual allegations—e.g., that Defendants were deceiving Medicare Part

D beneficiaries as to whether less costly, generic drugs were available through formulary

exceptions, denying formulary exceptions as a matter of course, and instructing CVS Pharmacies

not to stock certain generics—Defendants have failed to establish that such allegations were

publicly disclosed prior to the filing of Relator’s complaint on June 11, 2019. In any event, because

Relator qualifies as an original source, the public disclosure bar does not apply.

               1. Relator’s Allegations of Fraud Against Defendant Were Not Publicly
                  Disclosed Prior to Relator’s Action.

       To obtain dismissal of an FCA action under the public disclosure bar, a defendant must

show that “substantially the same allegations or transactions as alleged in the action or claim were

publicly disclosed.” 31 U.S.C. § 3730(e)(4)(A); see also United States ex rel. Moore & Co. v.

Majestic Blue Fisheries, LLC, 812 F.3d 294, 303 (3d Cir. 2016) (defendant bears burden of



                                                 57
showing that public disclosure bar applies). “Whereas an ‘allegation’ of fraud is a specific

allegation of wrongdoing, a ‘transaction’ that raises an inference of fraud consists of both the

allegedly misrepresented facts and the allegedly true state of affairs.” United States ex rel. Silver

v. Omnicare, Inc., 903 F.3d 78, 83 (3d Cir. 2018); accord Moore, 812 F.3d at 303.

       Here, Defendants assert (Br. at 48-51) that the specific allegations of fraud were publicly

disclosed through CMS materials, news articles, two civil cases, and a Senate Finance Committee

hearing.31 Defendants contend that these items publicly revealed SilverScript’s preference for

brand-name drugs over generic drugs on its formulary, that such preference could result in higher

prices for both Part D beneficiaries and the Government, and that Defendants allegedly violated

state mandatory generic-substitution laws through the use of incorrect DAW codes. As explained

below, however, none of these public disclosures revealed “substantially the same allegations” as

Relator alleges here.

       First, Defendants point (Br. at 48-51) to SilverScript’s Part D formularies (made public

through CMS), various news articles, a Senate Finance Committee hearing, and a CMS report as

revealing that Defendants preferred brand-name drugs over generic drugs, and that such preference

could lead to increased costs for beneficiaries and the United States. Defendants’ brand-name

preference, however, is not the specific fraud that Relator alleges, but simply supplies the context

in which Defendants’ fraud occurred. The specific fraud that Relator alleges is that Defendants

discouraged beneficiaries from seeking formulary exceptions for generic drugs (by

misrepresenting the relative costs of brand-name drugs versus generic drugs), SAC ¶¶ 384, 388,




31
  Because Defendants make no argument that the same “transactions” were publicly disclosed,
this Court need not address that alternate prong for dismissal under the public disclosure bar. Cf.
Silver, 903 F.3d at 83 (where defendants did not argue that specific allegations of fraud had been
publicly disclosed, court addressed only whether same transactions had been publicly disclosed).


                                                 58
440, 444, 508, 512, 518, 522, 635, 654, 658, denied all formulary exceptions for certain brand-

name drugs (Harvoni/Epclusa), id. ¶¶ 14, 280, 500, 505, 508, 512, 515, 522, 540-554, 559, 577,

600, 605, 608, and ordered CVS pharmacies to not stock certain generic drugs, id. ¶¶ 15, 246-47,

264, 280, 319, 352, 500, 530. As a result, Part D beneficiaries were effectively denied access to

generics, which would have resulted in lower costs for both the beneficiary and the Government.

Instead, because of Defendants’ fraudulent scheme to block access to generics through

discouraging and denying formulary exceptions, Part D beneficiaries reached their Catastrophic

Coverage limit sooner, resulting in greater costs to Medicare.

       None of the publicly disclosed information Defendants rely upon revealed that Defendants

had misled Part D beneficiaries about the costs of brand-name drugs versus generic drugs to

discourage beneficiaries from seeking formulary exceptions, that Defendants had a policy to deny

all Harvoni and Epclusa formulary exceptions, or that Defendants ordered CVS pharmacies not to

stock generic drugs for Harvoni, Epclusa, Advair Diskus and Ventolin HFA. Nor were there any

public disclosures revealing Defendants’ breach of the 2007 FTC firewall, nor of the 2012 Consent

Order.32 Defendants make no argument that any of these allegations of fraud was publicly

disclosed.


32
  Rather than revealing the collusion between the CVS Health entities that is alleged in the SAC,
the purported public disclosure of the breach of CVS Health’s 2007 FTC firewall to the Senate
Finance Committee did not reveal fraud at all. Instead, CVS Health insisted that it was complying
with the firewall, stating that: “Since CVS Pharmacy and Caremark merged, CVS Health has
maintained stringent firewall protections between our CVS Pharmacy retail business and our CVS
Caremark PBM business”; the FTC was “satisfied” that CVS and Caremark were “indeed kept
separate”; “[t]here are many safeguards in place to” maintain the firewall; and “[t]he firewall . . .
prohibits CVS/Caremark from sharing other confidential and competitive information, such as the
reimbursement rates for its pharmacy networks, with the CVS/pharmacy segment.” Drug Pricing
in America: A Prescription for Change, Part III: Hearing before the S. Comm. on Fin., 116th
Cong. 415, 229 (2019) (statement of Derica Rice, Executive Vice President, CVS Health, and
President, CVS Caremark), available at https://www.finance.senate.gov/imo/media/doc/
435631.pdf.


                                                 59
       And Defendants’ assertion (Br. at 51) that the two Fox Rx cases publicly disclosed the same

allegations of fraud here is also wrong. Defendants contend that those cases revealed Omnicare’s

and Walgreens’ alleged violation of state mandatory generic-substitution laws through incorrect

DAW codes. But, even assuming that allegation of fraud is the same as alleged here, which it is

not, that fraud was allegedly perpetrated by completely different entities: Omnicare and

Walgreens. Those cases, therefore, do not publicly disclose the same allegations of fraud. See,

e.g., United States ex rel. Mateski v. Raytheon Co., 816 F.3d 565, 577 (9th Cir. 2016) (“Allowing

a public document describing ‘problems’—or even some generalized fraud . . . across a swath of

an industry—to bar all FCA suits identifying specific instances of fraud in that . . . industry would

deprive the government of information that could lead to recovery of misspent government funds

and prevention of further fraud.”).

       Defendants, therefore, have failed to meet their burden of establishing that Relator’s

specific allegations of fraud against Defendants were publicly disclosed such that Relator’s action

should be dismissed. But, if there were any doubt, this Court should decline to dismiss Relator’s

action. See, e.g., United States ex rel. Freedom Unlimited, Inc. v. City of Pittsburgh, 718 F. App’x

101, 104 (3d Cir. 2018) (public disclosure and original source issues are “matters of fact” such that

a motion to dismiss should be granted only if nonmoving party “plead[s] itself out of the case”);

see Franchitti v. Cognizant Tech. Sols. Corp., 555 F. Supp. 3d 63, 72-73 (D.N.J. 2021).

               2. In Any Event, Relator Is an Original Source, Precluding Application of the
                  Public Disclosure Bar.

       Even where the same allegations or transactions of fraud have been publicly disclosed, the

Relator’s claims are not barred if “the person bringing the action is an original source of the

information.” 31 U.S.C. § 3730(e)(4)(A). An original source “means an individual who either (i)

prior to a public disclosure under subsection (e)(4)(A), has voluntarily disclosed to the



                                                 60
Government the information on which allegations or transactions in a claim are based, or (2) who

has knowledge that is independent of and materially adds to the publicly disclosed allegations or

transactions, and who has voluntarily provided the information to the Government before filing an

action under this section.” 31 U.S.C. § 3730(e)(4)(B).

       Defendants argue (Br. at 52-53) that Relator cannot be an original source as a matter of law

because Relator is not “an individual” within the meaning of 31 U.S.C. § 3730(e)(4)(B), but an

entity. Defendants further contend (Br. at 53-54) that Relator has not adequately alleged that its

knowledge is independent of and materially adds to the publicly disclosed allegations of fraud.

Defendants are wrong on both counts.

       It is not surprising that Defendants cite no case authority that an original source must be an

“individual,” as defined in 1 U.S.C. § 1, such that a corporation, company, association, firm, or

partnership cannot be an original source, because no court has accepted Defendants’ argument.

Indeed, such an understanding runs contrary to this Circuit’s case law, in which this Court

concluded that a law firm could be an “original source” within the meaning of the FCA. See

Moore, 812 F.3d at 304-08. Moreover, the Eighth Circuit has specifically rejected the argument

that the original source exception applies only to individuals. See Minnesota Ass’n of Nurse

Anesthetists, 276 F.3d 1032, 1048 n.12 (8th Cir. 2002). As the Eighth Circuit explained, “if

examination of a statute shows ‘no plausible reason why Congress would have intended to provide

for . . . special treatment of actions filed by natural persons and to have precluded entirely . . .

comparable cases brought by corporate persons,’ . . . the word ‘individual’ does not limit the

statute’s scope to human beings.” Id. (quoting Clinton v. City of New York, 524 U.S. 417, 429

(1998)). Because “[n]either the 1986 Amendments Act nor a review of its background or

legislative history suggests that Congress meant to exclude suits on the basis of whether the relator




                                                 61
was a natural person, corporation, or association,” the court rejected the argument that an original

source was limited to natural persons. Id. For those same reasons, this Court should reject

Defendants’ argument that Relator here, because it is a limited liability partnership, cannot be an

original source.

        This Court should likewise reject Defendants’ argument (Br. at 54) that Relator’s

knowledge is neither “independent of” nor “materially add[s] to” the public disclosures’

allegations of fraud. The text of the original source exception “plainly requires courts to compare

the relator’s knowledge with the information that was disclosed through the public disclosure

sources enumerated in § 3730(e)(4)(A).” Moore, 812 F.3d at 305. “The focus is now on what

independent knowledge the relator has added to what was publicly disclosed.” Id. at 299; see also

id. at 304-05 (where relator alleged that its information was obtained through discovery in a

different action, relator’s knowledge was “independent of” the information revealed through

public disclosures). “[T]o ‘materially add[]’ to the publicly disclosed allegation . . . a relator must

contribute significant additional information to that which has been publicly disclosed so as to

improve its quality.” Id. at 305. The original source exception is met, therefore, when a relator

“contributes information—distinct from what was publicly disclosed—that adds in a significant

way to the essential factual background: ‘the who, what, when, where and how of the events at

issue.’” Id. at 307.33




33
   Defendants mistakenly rely (at 53-54) on United States ex rel. Judd v. Quest Diagnostics Inc.,
638 F. App’x 162 (3d Cir. 2015), but that case applied the pre-2010 version of the FCA, id. at 167,
which required a relator to satisfy a higher hurdle to satisfy the original source exception, Moore,
812 F.3d at 298-99 (explaining that the 2010 FCA amendments “expanded the definition of
‘original source,” “evinc[ing] Congress’s intent to lower the bar for relators”). The current
iteration of the original source inquiry “requires an entirely different analysis.” Moore, 812 F.3d
at 305.


                                                  62
       Relator easily satisfies this standard. First, Relator has alleged that its knowledge of the

alleged fraud is independent of the purported public disclosures. Specifically, one of relator’s

partners, Alexandra Miller, was formerly employed by CVS Health for 19 years, during which

time she obtained “firsthand, personal knowledge of the false claims, statements, and concealments

alleged” in the complaint. Id. ¶¶ 33-36. Ms. Miller “has extensive personal knowledge and

experience regarding” Defendants’ conduct, as well as of alleged “violations of law” by CVS

Health employees. Id. ¶ 34-36. In addition, Ms. Miller “conducted an independent investigation”

into Defendants’ actions. Id. ¶ 36. All of that knowledge serves as the basis for the SAC’s

allegations. Thus, the complaint plainly alleges that Relator has knowledge that is “independent

of” the information revealed by the alleged public disclosures. See Freedom Unlimited, 718 F.

App’x at 104-05 (where appellants “assert[ed] that they had independent material knowledge of”

the alleged false claims, the motion to dismiss should have been denied). Defendants’ suggestion

to the contrary (Br. at 54) simply misconstrues the SAC.

       Relator’s knowledge also materially adds to the alleged public disclosures. The allegations

in the SAC provide the “who, what, when, where, and how” of Defendants’ fraudulent scheme and

how it was carried out. For example, the SAC alleges that CVS Health asked Ms. Miller to

informally monitor beneficiary grievances related to the unavailability of generic drugs to prevent

a paper trail. SAC ¶¶ 115-19. The SAC further alleges how SilverScript blocked access to generic

drugs and misled beneficiaries about their costs. See, e.g., id. ¶ 238. CVS Health instructed

SilverScript to “deny all formulary exceptions.” Id. ¶ 246; accord id. ¶ 247 (SilverScript

automatically denied formulary exceptions for generics); id. ¶ 280 (“blanket denials of formulary

exceptions” began in late 2018); id. ¶¶ 319, 352. And CVS Pharmacies were likewise instructed

not to stock the less costly generics. See, e.g., id. ¶¶ 246, 280, 352. SilverScript also misled




                                                63
beneficiaries as to the costs of generics to dissuade beneficiaries from seeking formulary

exceptions. See, e.g., id. ¶¶ 315, 341, 355, 359, 380, 381, 382. The SAC further details how

Defendants’ scheme was facilitated by the collusion of various CVS entities and the violation of

firewalls. See, e.g., id. ¶ 342. None of these facts, which add significant detail as to how

Defendants implemented their scheme, harmed beneficiaries, and defrauded the Government, were

included in any of the purported public disclosures. Defendants’ assertion (Br. at 54) that Relator

has failed to add any material facts to the public disclosures simply ignores all of these allegations.

       E. CVS Health and CVS Pharmacy Are Proper Defendants.

       Defendants argue CVS Health and CVS Pharmacy are “inappropriate” defendants (Br. at

14-15) because the SAC fails to allege either Defendant directly contracted with CMS under the

Part D program or submitted claims for payment or created records in connection with a Part D

program. Defendants are mistaken as to the allegations in the SAC and the relevant legal standard.

               1. The SAC Plausibly Alleges CVS Health Is a Proper Defendant

       The SAC alleges that the CVS Health Executive Committee, a standing committee of the

CVS Health Board of Directors, specifically directed (over internal objections from Relator and

others) that its subsidiaries would implement Defendants’ fraudulent scheme, knowing it would

impact Medicare Part D beneficiaries who would not be able to access cheaper generic drugs. SAC

¶¶ 15, 19, 35, 216, 263, 271, 287, 498, 503, 527, 529, 624, 627. There is no requirement under the

FCA that CVS Health itself must have contracted with CMS under a Part D plan, or that it

submitted claims for payment or submitted records in connection with such claims. Rather, the

FCA’s provisions on liability for those who cause false claims to be presented “indicate a purpose

to reach any person who knowingly assisted in causing the government to pay claims which were

grounded in fraud, without regard to whether that person had direct contractual relations with the

government.” Schmidt, 386 F.3d at 243. Likewise, unlike in Polansky, where the plaintiffs failed


                                                  64
to allege that the parent corporation had direct knowledge or involvement in the alleged fraud,

United States ex rel. Polansky v. Exec. Health Res., Inc., 196 F. Supp. 3d 477, 512 (E.D. Pa. 2016),

here the SAC alleges in detail that the CVS Health Executive Committee directed and controlled

Defendants’ scheme to block access to cheaper generic alternatives (SAC ¶¶ 18-19, 35, 216, 263)

and are adequate at the pleadings stage. See, e.g., Sirls, 469 F. Supp. 3d at 454 (allegations that

parent company directed and controlled the fraud were adequate to survive motion to dismiss). At

least one court has rejected this identical argument in another case involving CVS. In United

States ex rel. Bassan v. Omnicare, Inc., No. 1:15-CV- 4179 (CM), 2021 WL 1063784, at *13-14

(S.D.N.Y. Mar. 19, 2021), the court rejected the argument by CVS (now known as CVS Health),

concluding the allegations of its active role “in overseeing [its subsidiaries’] operations and

[CVS’s] knowledge and involvement” in the fraudulent scheme are more than sufficient at the

pleadings stage. See also United States v. Planned Parenthood Fed’n of Am. Inc., No. 2:21-CV-

022-Z, 2022 WL 1290907, at *12 (N.D. Tex. Apr. 29, 2022) (complaint alleging parent oversight

over affiliates “surpasses the control exercised by a parent as an incident to ownership” and more

than suffices to survive motion to dismiss). So, too, here.

               2. Ellsworth Adequately Alleges CVS Pharmacy Is a Proper Defendant

       Defendants fare no better with regard to their contention (Br. at 15) that the SAC fails to

allege CVS Pharmacy directly participated in the fraud, asserting that it only dispenses drugs

according to the Sponsor’s instructions. It is well-settled in this Circuit that where a defendant’s

fraudulent conduct was a “substantial factor” in bringing about the presentation of a false claim by

another party and the submission of the false claim was foreseeable or a “normal consequence” of

the defendant’s fraudulent conduct, then the defendant has “caused” a false claim to be submitted

in violation of the FCA notwithstanding the fact that the provider who presented the false claim

made an independent judgment in filing the claim. Schmidt, 386 F.3d at 244 (causation under FCA


                                                65
sufficiently alleged where complaint plausibly suggests doctors wrote off-label prescriptions

because of defendant Novartis’ off-label marketing).

       The Ellsworth allegations against CVS Pharmacy easily meet the Schmidt substantial factor

requirements in three ways. First, the SAC alleges that CVS Pharmacy affirmatively joined in the

fraudulent scheme by refusing to stock the cheaper authorized generic versions of Epclusa,

Harvoni, Advair Diskus, and Ventolin HFA. SAC ¶¶ 15, 246-47, 264, 280, 319, 351-52, 500, 530,

624, 626-27. Even though it would lose money by not stocking the more profitable authorized

generic drugs (id. at ¶¶ 264), CVS Pharmacy acted against its own interests and played a key role

in Defendants’ fraud by declining to stock these four generic drugs, conduct which was a

substantial factor in blocking beneficiary access to these much cheaper drugs. Id. at ¶¶ 246-47,

351. Second, CVS Health ignores that the SAC alleges that Defendants’ scheme required CVS

Pharmacy to not comply with seventeen jurisdictions’ mandatory generic substitution laws. Id. at

¶¶ 22, 175, 185, 188, 200, 207-11, 215, 219, 246, 249, 271, 305, 324-40, 398, 669. Third, the SAC

alleges that CVS Pharmacy systematically reported false DAW codes to misrepresent what drugs

were being dispensed and for what reasons. See supra pp. 30-34.

       Contrary to what CVS Health contends now (i.e., that CVS Pharmacy was simply a passive

participant only following the instructions of the plan sponsor, see Br. at 15), its own internal

documents told a different story. For example, its “Health Plan Client Strategy and FAQs”

specifically states that compliance with state pharmacy laws mandating generic substitution “are

a pharmacy issue – and not a plan issue . . . .” SAC ¶ 328 & Ex. 8 at CVS001795 (emphasis

added). Thus, allegations concerning the CVS Pharmacy violation of state mandatory generic

substitution laws (which its own documents make clear were a “pharmacy issue”) are more than




                                               66
sufficient at the pleadings stage to permit a conclusion that it was foreseeable that CVS Pharmacy’s

conduct would be a substantial factor in causing the submission of false claims.

                                         CONCLUSION

       For the foregoing reasons, this Court should deny Defendants’ motion to dismiss Relator’s

complaint.




                                              W. Scott Simmer (pro hac vice)
                                              William G. Powers (PA Bar No. 316876)
                                              Jennifer Fountain Connolly (pro hac vice)
                                              Catherine Hancock Dorsey (pro hac vice pending)
                                              Noah M. Rich (pro hac vice)
                                              BARON & BUDD, P.C.
                                              The Watergate
                                              600 New Hampshire Ave. NW
                                              10th Floor
                                              Washington, DC 20037
                                              Telephone: (202) 333-4562
                                              Facsimile: (202) 337-1039




                                                67
                         CERTIFICATE OF SERVICE

       I certify that on September 23, 2022, this document was filed electronically, that it is

available for viewing and downloading from the ECF system, and that all counsel of record

will be served by the ECF system.



                                                   /s/




                                             68
